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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH CAROLINA
                           CHARLESTON DIVISION




RYAN CHARKOWICK,                                 CIVIL ACTION NO: 2:23-cv-02598-RMG

                                                 MASTER DOCKET NO: 2:18-mn-02873-
                 Plaintiff,                      RMG

         vs.                                     JUDGE RICHARD GERGEL

3M COMPANY; AGC CHEMICALS          COMPLAINT AND JURY DEMAND
AMERICAS, INC.; AMEREX
CORPORATION; ARCHROMA U.S., INC.,
ARKEMA, INC.; BUCKEYE FIRE
EQUIPMENT; CARRIER GLOBAL
CORPORATION; CHEMGUARD, INC.; E.
I. DU PONT DE NEMOURS & CO.; FIRE
SERVICE PLUS, INC.; GLOBE
MANUFACTURING COMPANY LLC;
HONEYWELL SAFETY PRODUCTS USA,
INC.; JOHNSON CONTROLS, INC.; LION
GROUP, INC.; MINE SAFETY
APPLIANCES COMPANY LLC; MSA
SAFETY INC.; PBI PERFORMANCE
PRODUCTS, INC., PERIMETER
SOLUTIONS, LP; SOUTHERN MILLS INC.
D/B/A TEN CATE PROTECTIVE FABRICS
USA; STEDFAST USA, INC.; THE
CHEMOURS COMPANY L.L.C.; TYCO
FIRE PRODUCTS, L.P.; W. L. GORE &
ASSOCIATES, INC.,

                 Defendants.




    Plaintiff Ryan Charkowick by and through his attorneys of record, alleges as follows:
                                    INTRODUCTION
    1.     Plaintiff Ryan Charkowick (“Plaintiff”) is an active duty firefighter who has served



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    with the Fire Department of the City of New York (“FDNY”) for 15 years.
          2.      Plaintiff brings this action for monetary damages and appropriate equitable and
    injunctive relief for harm resulting from exposure to per- and polyfluoroalkyl substances
    (“PFAS”) that were manufactured, designed, sold, supplied, distributed and/or contained in
    products manufactured, designed, sold, supplied and/or distributed by each of the Defendants,
    individually or through their predecessors or subsidiaries
           3.     PFAS are human-made chemicals consisting of a chain of carbon and fluorine
    atoms used in manufactured products to, inter alia, resist and repel oil, stains, heat and water.
    PFAS include “long-chain” PFAS made up of seven or more carbon atoms (“long-chain PFAS”)
    as well as “short-chain” PFAS made up of six or fewer carbon atoms (“short-chain PFAS”).
           4.     PFAS are known as “forever chemicals” because they are immune to degradation,
    bio-accumulate in individual organisms and humans, and increase in concentration up the food
    chain. PFAS exposure to humans can occur through inhalation, ingestion and dermal contact.1
           5.     PFAS have been associated with multiple and serious adverse health effects in
    humans including cancer, tumors, liver damage, immune system and endocrine disorders, high
    cholesterol, thyroid disease, ulcerative colitis, birth defects, decreased fertility, and pregnancy-
    induced hypertension. PFAS have also been found to concentrate in human blood, bones and
    organs and, most recently, to reduce the effectiveness of vaccines, a significant concern in light
    of COVID-19. PFAS has also been found to cause epigenetic changes associated with
    carcinogenesis.
           6.     Unbeknownst to Plaintiff, Defendants have manufactured, marketed, distributed,
    sold, or used PFAS and PFAS-containing materials in protective clothing specifically designed
    for firefighters (“turnouts”) and in Class B firefighting foams (“Class B foam”).2


1
  Suzanne E. Fenton, MS, PhD, PFAS Collection, Environmental Health Perspectives (February 22,
2019), https://ehp.niehs.nih.gov/curated-collections/pfas.
2
  Class B foams are synthetic “soap-like” foams that spread rapidly across the surface of a fuel or
chemical fire to stop the formation of flammable vapors. The most common Class B foam is
aqueous film-forming foam (or “AFFF”).


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           7.      For decades, Defendants were aware of the toxic nature of PFAS and the harmful
    impact these substances have on human health. Yet, Defendants manufactured, designed,
    marketed, sold, supplied, or distributed PFAS and PFAS chemical feedstock,3 as well PFAS-
    containing turnouts and Class B foam, to firefighting training facilities and fire departments
    nationally, including in New York. Defendants did so, moreover, without ever informing
    firefighters or the public that turnouts and Class B foams contained PFAS, and without warning
    firefighters or the public of the substantial and serious health injuries that can result from exposure
    to PFAS or PFAS-containing materials. Even worse, Defendants concealed the hazardous
    toxicity, persistence and bioaccumulation of PFAS, and repeatedly misrepresented the safety of
    PFAS or PFAS-containing materials
           8.      Plaintiff wore turnouts and used and/or was exposed to Class B foam in the usual
    and normal course of performing his firefighting duties and training, As such, he was repeatedly
    exposed to PFAS in his workplace. He did not know and, in the exercise of reasonable diligence,
    could not have known that these products contained PFAS or PFAS-containing materials. He also
    did not know that PFAS was in his body and blood.
           9.      At all relevant times and continuing to the present, Defendants have represented
    that their turnouts and Class B foams are safe.
           10.     Plaintiff used the turnouts and Class B foam as they were intended and in a
    foreseeable manner which exposed him to PFAS in the course of his firefighting activities. This
    repeated and extensive exposure to PFAS resulted in ulcerative colitis and related injuries to the
    Plaintiff. His PFAS exposures continue to pose a significant threat to his personal health due to
    PFAS’ persistence, pervasiveness, toxicity and bioaccumulation.
           11.     Defendants knowingly and willfully manufactured, designed, marketed, sold, and



3
  Chemical feedstock refers to a chemical used to support a large-scale chemical reaction. The
PFAS chemicals utilized to manufacture products containing PFAS are generally referred to herein
as “chemical feedstock.”




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distributed chemicals and/or products containing PFAS for use within the State of New York
when they knew or reasonably should have known that the Plaintiff would repeatedly inhale,
ingest and/or have dermal contact with these harmful compounds during firefighting training
exercises and in firefighting emergencies, and that such exposure would threaten the health and
welfare of firefighters exposed to these dangerous and hazardous chemicals.
        12.    Plaintiff brings this action against Defendants and seek damages, together with any
appropriate injunctive or other equitable relief.

                                JURISDICTION AND VENUE

       13.     The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1332(a)(1) because
the Plaintiff and Defendants are citizens of different states, and the amount in controversy exceeds

$75,000.00, excluding interest and costs.

       14.     Venue is proper in this District Court pursuant to this Court’s Case Management
Order (“CMO”) No. 3. Plaintiff states that, but for the Order permitting direct filing in the United
States District Court for the District of South Carolina, Plaintiff would have filed this Complaint
in the United States District Court, Eastern District of New York. Further, in accordance with
CMO 3, Plaintiff designates United States District Court, Eastern District of New York as the
home venue. Venue is originally proper in the United States District Court, Eastern District of New
York pursuant to 28 U.S.C. §1391 because Plaintiff’s exposure and injuries, resulting from the

acts of Defendants alleged herein, occurred in the State of New York.

                                  PARTIES TO THE ACTION
        A.     Plaintiff Ryan Charkowick
       15.     Ryan Charkowick (“Plaintiff”) is an active-duty firefighter serving for 15 years
with the Fire Department of the City of New York (“FDNY”), including many years at Engine 217
in Brooklyn. Plaintiff’s firefighter training included building construction, fire appliances, pump
operations, ladders, search and rescue, ventilation, utility control, salvage and overhaul, vehicle
extrication, incident command, and basic first aid. One of Plaintiff’s most memorable moments



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was responding to a multi-alarm apartment fire in which all the residents were safely evacuated.
In the course of firefighting training and fire suppression activities, Plaintiff routinely wears
turnouts and has used and/or been exposed to Class B foam. Plaintiff has been diagnosed with and
is being treated for ulcerative colitis.
        16.     Plaintiff alleges that PFAS or PFAS-containing materials developed, manufactured,
marketed distributed, released, sold, and/or used by Defendants in turnouts and Class B foam, as
herein alleged, caused him to be exposed to PFAS and/or PFAS-containing materials. Such
exposure was a substantial factor and proximate cause of the ulcerative colitis and related injuries
suffered by the Plaintiff, as alleged herein.
        B.      Defendants
        17.     Defendant 3M Company (a/k/a Minnesota Mining and Manufacturing Company)
(“3M”) is a Delaware corporation that does business throughout the United States, including
conducting business in New York. 3M has its principal place of business in St. Paul, Minnesota.
3M developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in New York.
        18.     Defendant AGC Chemicals Americas, Inc. (“AGC”) is a Delaware corporation that
does business throughout the United States, including conducting business in New York. AGC has
its principal place of business in Exton, Pennsylvania. AGC developed, manufactured, marketed,
distributed, released, sold, and/or used PFAS, PFAS materials, and products containing PFAS in
turnouts and/or Class B foams, including in New York.
        19.     Defendant Amerex Corporation, also known as Alabama Amerex Corporation,
(“Amerex”) is an Alabama corporation that does business throughout the United States, including
conducting business in New York. Amerex has its principal place of business in Trussville,
Alabama. Amerex developed, manufactured, marketed, distributed, released, sold, and/or used
PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams, including
in New York.
        20.     Defendant Archroma U.S., Inc. (“Archroma”) is a North Carolina corporation that



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does business throughout the United States, including conducting business in New York.
Archroma has its principal place of business in Charlotte, North Carolina. Archroma developed,
manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and
products containing PFAS in turnouts and/or Class B foams, including in New York.
       21.    Defendant Arkema, Inc. (“Arkema”) is a Pennsylvania corporation that does
business throughout the United States, including conducting business in New York. Arkema has
its principal place of business in King of Prussia, Pennsylvania. Arkema developed, manufactured,
marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and products containing
PFAS in turnouts and/or Class B foams, including in New York.
       22.    Defendant Buckeye Fire Equipment (“Buckeye”) is a North Carolina corporation
that does business throughout the United States, including conducting business in New York.
Buckeye has its principal place of business in Kings Mountain, North Carolina. Buckeye
developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in New York.
       23.    Defendant Carrier Global Corporation (“Carrier”) is a Delaware corporation that
does business throughout the United States, including conducting business in New York. Carrier
has its principal place of business in Palm Beach Gardens, Florida. Carrier is the parent of non-
defendant Chapter 11 entity, Kidde-Fenwal, Inc. Carrier developed, manufactured, marketed,
distributed, released, sold, and/or used PFAS, PFAS materials, and products containing PFAS in
turnouts and/or Class B foams, including in New York.
       24.    Defendant Chemguard, Inc. (“Chemguard”) is a Wisconsin corporation that does
business throughout the United States, including conducting business in New York. Chemguard
has its principal place of business in Marinette, Wisconsin. Chemguard developed, manufactured,
marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and products containing
PFAS in turnouts and/or Class B foams, including in New York.
       25.    Defendant E. I. du Pont de Nemours & Co. (“DuPont”) is a Delaware corporation
that does business throughout the United States, including conducting business in New York.



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DuPont has its principal place of business in Wilmington, Delaware. DuPont developed,
manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and
products containing PFAS in turnouts and/or Class B foams, including in New York.
        26.   Defendant Fire Service Plus, Inc. (“Fire Service Plus”) is a Georgia corporation that
does business throughout the United States, including conducting business in New York. Fire
Service Plus has its principal place of business in Simi Valley, California. Fire Service Plus
developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in New York.
        27.   Defendant Globe Manufacturing Company, LLC (“Globe”) is a New Hampshire
corporation that does business throughout the United States, including conducting business in New
York. Globe has its principal place of business in Pittsfield, New Hampshire. Globe developed,
manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and
products containing PFAS in turnouts and/or Class B foams, including in New York. Defendant
MSA Safety Inc. acquired Globe Holding Company, LLC and its subsidiaries (collectively,
“MSA/Globe”) in 2017 and continues to do business under the Globe name, including in New
York.
        28.   Defendant Honeywell Safety Products USA, Inc. (“Honeywell”) is a Delaware
corporation that does business throughout the United States, including conducting business in New
York. Honeywell has its principal place of business in Charlotte, North Carolina. Honeywell
developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in New York.
        29.   Defendant Johnson Controls, Inc. (“Johnson Controls”) is a Delaware corporation
that does business throughout the United States, including conducting business in New York.
Johnson Controls has its principal place of business in Milwaukee, Wisconsin. Johnson Controls
is the parent of Defendants Tyco Fire Products, LP and Chemguard, Inc. Johnson Controls
developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in New York.



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       30.    Defendant Lion Group, Inc., (“Lion”) is an Ohio corporation that does business
throughout the United States, including conducting business in New York. Lion has its principal
place of business in Dayton, Ohio. Lion developed, manufactured, marketed, distributed, released,
sold, and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class
B foams, including in New York.
       31.    Defendant Mine Safety Appliances Company, LLC (“Mine Safety Appliances”) is
a Pennsylvania corporation that does business throughout the United States, including conducting
business in New York. Mine Safety Appliances has its principal place of business in Cranberry
Township, Pennsylvania, and is and/or was a subsidiary of defendant MSA Safety Inc (“MSA”).
Mine Safety Appliances developed, manufactured, marketed, distributed, released, sold, and/or
used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams,
including in New York.
       32.    Defendant MSA Safety Inc. (“MSA”) is a Pennsylvania corporation that does
business throughout the United States, including conducting business in New York. MSA has its
principal place of business in Cranberry Township, Pennsylvania. MSA acquired Globe Holding
Company, LLC and its subsidiaries (collectively, “MSA/Globe”) in 2017 and continues to do
business under the Globe name. MSA developed, manufactured, marketed, distributed, released,
sold, and/or used PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class
B foams, including in New York.
       33.    Defendant PBI Performance Products, Inc., (“PBI”) is a Delaware corporation that
does business throughout the United States, including conducting business in New York. PBI has
its principal place of business in Charlotte, North Carolina. PBI developed, manufactured,
marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and products containing
PFAS in turnouts and/or Class B foams, including in New York.
       34.    Defendant Perimeter Solutions, LP, (“Perimeter Solutions”) is a Delaware
corporation that does business throughout the United States, including conducting business in New
York. Perimeter Solutions has a principal place of business in Rancho Cucamonga, California.



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Perimeter developed, manufactured, marketed, distributed, released, sold, and/or used PFAS,
PFAS materials, and products containing PFAS in turnouts and/or Class B foams, including in
New York.
       35.    Defendant Southern Mills, Inc. d/b/a Ten Cate Protective Fabrics USA (“Tencate”)
is a Georgia corporation that does business throughout the United States, including conducting
business in New York. Tencate has its principal place of business in Senoia, Georgia. Tencate
developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in New York.
       36.    Defendant StedFast USA, Inc. (“StedFast”) is a Delaware corporation that does
business throughout the United States, including conducting business in New York. StedFast has
its principal place of business in Piney Flats, Tennessee. StedFast developed, manufactured,
marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and products containing
PFAS in turnouts and/or Class B foams, including in New York.
       37.    Defendant The Chemours Company, L.L.C. (“Chemours”) is a Delaware
corporation that does business throughout the United States, including conducting business in New
York. Chemours has its principal place of business in Wilmington, Delaware. Chemours
developed, manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS
materials, and products containing PFAS in turnouts and/or Class B foams, including in New York.
       38.    Defendant Tyco Fire Products, L.P. (“Tyco”) is a Delaware corporation that does
business throughout the United States, including conducting business in New York. Tyco has its
principal place of business in Exeter, New Hampshire. Tyco developed, manufactured, marketed,
distributed, released, sold, and/or used PFAS, PFAS materials, and products containing PFAS in
turnouts and/or Class B foams, including in New York.
       39.    Defendant W. L. Gore & Associates, Inc., (“Gore”) is a Delaware corporation that
does business throughout the United States, including conducting business in New York. Gore has
its principal place of business in Newark, Delaware. Gore developed, manufactured, marketed,
distributed, released, sold, and/or used PFAS, PFAS materials, and products containing PFAS in



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turnouts and/or Class B foams, including in New York.
        40.    Plaintiff alleges that each named Defendant is in some manner responsible for the
acts alleged herein and that they proximately caused the injuries to Plaintiff, as alleged herein.
        41.    Plaintiff alleges that each named Defendant derived substantial revenue from the
PFAS, PFAS materials, and products containing PFAS in turnouts and/or Class B foams that
Defendants designed, developed, manufactured, tested, packaged, promoted, marketed, advertised,
distributed, labeled and/or sold within New York, and that was used by Plaintiff herein within New
York.
        42.    Defendants expected or should have expected their acts to have consequences
within the State of New York, and derived substantial revenue from interstate commerce.
        43.    Defendants purposefully availed themselves of the privilege of conducting
activities within the State of New York, thus invoking the benefits and protections of its laws.
                            NON-DEFENDANT CHAPTER 11 ENTITIES
        44.    Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a Delaware corporation that does business
throughout the United States, including conducting business in California. Kidde-Fenwal has its
principal place of business in Ashland, Massachusetts. Kidde-Fenwal developed, manufactured,
marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and products containing
PFAS in turnouts and/or Class B foams, including in California. On May 14, 2023, Kidde-Fenwal,
Inc. filed for Chapter 11 bankruptcy (the “Kidde-Fenwal Bankruptcy”). Kidde-Fenwal has been
previously named as a defendant in numerous similar actions in this AFFF-MDL (2:18-mn-02873-
RMG) and would have been named as a defendant in this action but for the pendency of the Kidde-
Fenwal Bankruptcy and the dictates of Section 362 of the United States Bankruptcy Code, 11
U.S.C. § 362(a).
        45.    National Foam, Inc., (“National Foam”) is a Pennsylvania corporation that does
business throughout the United States, including conducting business in California. National
Foam has its principal place of business in West Chester, Pennsylvania. National Foam developed,
manufactured, marketed, distributed, released, sold, and/or used PFAS, PFAS materials, and



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products containing PFAS in turnouts and/or Class B foams, including in California and the county
of Santa Clara. National Foam has been previously named as a defendant in numerous similar
actions in the AFFF-MDL (2:18-mn-02873-RMG), and would have been named as a defendant in
this action but for this Court’s May 16, 2023 Text Order stating that the Kidde-Fenwal Bankruptcy
has resulted in an automatic stay of claims against National Foam.
                                 SUBSTANTIVE ALLEGATIONS
         A.      Plaintiff’s Use of and Exposure to PFAS-Containing Products
        46.      Ryan Charkowick (“Plaintiff”) has been in the fire service for 15 years in FDNY as
a firefighter.
        47.      As first responders to fire and other emergency and medical calls, firefighters risk
their life on a daily basis. They not only save lives and homes, they provide emergency services
and medical care, perform rescues, and offer support to people in traumatic circumstances. To
prepare him for this enormously challenging work, Plaintiff wore turnouts, and received extensive
and ongoing training in fire suppression (including the preparation and use of Class B foam), fire
prevention, rescue, and emergency medical care action to protect and/or minimize the loss of life,
property, and damage to the environment.
        48.      The Fire Department of the City of New York (“FDNY”) is the largest and busiest
fire department in the United States, responding to over one million calls a year. The FDNY
provides fire protection, emergency medical care, and other critical public safety services to
residents and visitors in its five boroughs.
        49.      For decades, Defendants, either individually or through their predecessors or
subsidiaries, have manufactured, designed, sold, supplied, and distributed chemical feedstock and/or
turnouts and Class B foam containing PFAS to firefighting training facilities and fire departments
globally, including within the State of New York.
        50.      With over 5,000 individual chemicals, PFAS is a large and ever-growing category
of human-made chemicals, consisting of a nearly indestructible chain of carbon and fluorine atoms
that are widely used in products to, inter alia, resist and repel oil, heat and water, and have been



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found to have negative health effects. As detailed below, these toxic chemicals are present in
firefighter turnouts and Class B foam.
                 (1)    PFAS-Containing Turnout Gear
           51.   During firefighting training and when responding to fires and performing fire
extinguishment, firefighters wear turnouts that are intended to provide a degree of thermal,
chemical, and biological protection for a firefighter. Turnout gear components include a helmet,
hood, jacket, pants, boots, and gloves. Each component is made of an outer layer, as well as several
inner layers that include a moisture barrier and thermal liner which are meant to protect the
firefighter from ambient heat.4
           52.   PFAS chemicals are used in turnout gear to impart heat, water, and stain resistance
to the outer shell and moisture barrier of turnout gear.
           53.   A June 2020 study of turnout gear by researchers at the University of Notre Dame
analyzed 30 new and used turnout jackets and pants originally marketed, distributed and sold in
2008, 2014, and 2017, by six turnout gear makers, including Defendants MSA/Globe, Lion and
Honeywell and found high levels of PFAS in turnout gear worn, used, or handled by firefighters,
including the Plaintiff.5
           54.   When exposed to heat, PFAS chemicals in the turnouts off-gas, break down, and
degrade into highly mobile and toxic particles and dust,6 exposing firefighters to PFAS chemicals,
particles and dust, including through skin contact/absorption, ingestion (e.g., hand-to-mouth
contact) and/or inhalation.7 Further firefighter exposure to these highly mobile and toxic materials


4
  What Materials Go Into Making Turnout Gear?, Globe MSA Safety Website, (last visited March
14, 2023), https://globe.msasafety.com/selecting-your-gear/materials.
5
  Graham Peaslee et al., Another Pathway for Firefighter Exposure to Per- and Polyfluoroalkyl
Substances: Firefighter Textiles, Environmental Science & Technology Letters 2020, 7, 8, 594-
599 (Ecotoxicology and Public Health) (June 23, 2020) (hereinafter, “the Notre Dame Turnout
Study”).
6
 A.S. Young et al., Per- and Polyfluoroalkyl Substances (PFAS) and Total Fluorine in Fire Station
Dust, J. Expo. Sci. Environ. Epidemiology (2021), https://doi.org/10.1038/s41370-021-00288-7.
7
    Id.



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occurs through normal workplace activities, because particles or dust from their turnouts spread to
fire vehicles and fire stations, as well as firefighters’ vehicles and homes.8
           55.    Such workplace exposure to PFAS or PFAS-containing materials has been found
to be toxic to humans. As far back as a July 31, 1980 internal memo, DuPont officials described
measures that were needed to prevent workplace exposure to PFOA, which they knew could
permeate all protective materials, and noted that PFOA’s toxicity varied depending on the
exposure pathway, acknowledging that ingestion was “slightly toxic,” dermal contact was “slightly
                                                                 9
to moderately toxic” and inhalation was “highly toxic.”              The memo concluded “continued
exposure is not tolerable.”10
           56.    As alleged herein, Plaintiff wears turnouts in the ordinary course of performing his
duties, as the turnouts were intended to be used and in a foreseeable manner, which has exposed
him to significant levels of PFAS.
           57.    Plaintiff did not know, and in the exercise of reasonable diligence could not have
known, that the turnouts he wore or used in the course of performing his duties contained PFAS
or PFAS-containing materials, and similarly did not know and could not have known that he
routinely suffered exposure to PFAS or PFAS-containing materials in the turnouts he wore or used
in performing his duties. The turnout gear worn or used by Plaintiff did not and does not contain
labeling information saying that the gear contains PFAS, and similarly did not and does not warn
Plaintiff of the health risks associated with exposure to PFAS.
                  (2)     PFAS-Containing Class B Foam
           58.    Class B foam is one of the primary tools used by firefighters for suppression of fires
and is particularly effective for extinguishing fires involving oil and/or chemicals common at
transportation accidents, aircraft accidents, and chemical spills. Class B foam is also used in



8
    Id.
9
    Robert Bilott, Exposure (2019), pg. 174.
10
     Id. at pg. 175.



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structural or other types of non-chemical fires when water cannot penetrate deeply enough to
ensure that unseen fire is extinguished. The most common Class B foam is aqueous film-forming
foam (“AFFF”). AFFF and other Class B foams contain PFAS.
       59.     To use Class B foam, a Class B foam concentrate must first be mixed with water.
       60.     Class B foam concentrate is typically sold in five-gallon containers that firefighters
are responsible for storing on the fire engine and/or pouring into the foam bladder of the fire
engine. To mix the foam concentrate and water from a fire engine that is not pre-plumbed for foam,
an eductor must be placed in the foam concentrate to draw up the concentrate and mix it with water
to create a thick, foamy substance. Firefighters are responsible for this process of preparing the
foam, applying the foam and for cleaning the equipment (hoses, nozzles, etc.) after use.
       61.     The process of preparing and applying Class B foam, applying the foam, and then
cleaning the equipment after foam use causes exposure to PFAS through skin contact, inhalation,
or ingestion (e.g., hand-to-mouth contact). The Class B foam containers used by Plaintiff and his
fire department to mix and prepare the Class B foam for use did not say that the foam contains
PFAS, and did not warn Plaintiff of the serious health risks associated with exposure to PFAS.
       62.     Class B foam is used in fire extinguishment in a manner typical of routine methods
of fire extinguishment—by being sprayed through a fire hose, appliance or nozzle.




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       63.     The techniques used for “laying a blanket” of Class B foam in fire extinguishment
include: banking the foam off a wall or vertical surface to agitate the foam before it covers the fire;
or applying it to the ground surface where the fire is burning. In structure fires, it can also be
necessary to spray the ceilings, walls and floors. Reapplication of foam is often necessary because
the foam blanket will break down over a short time.




       64.     These techniques are used routinely in firefighting training as well as in real-world
fire extinguishment, and result in firefighters being sprayed or entirely soaked with Class B foam,
walking in and through Class B foam (which can reach thigh- or even waist-high), or kneeling in
Class B foam during use – all as depicted in the exemplar photographs below. As a result, the
techniques cause exposure to PFAS through skin contact, inhalation, or ingestion (e.g., hand-to-
mouth contact).
       65.     As alleged herein, Plaintiff used and/or was exposed to Class B foam in the ordinary
course of performing his duties as it was intended to be used and in a foreseeable manner which




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exposed him to significant levels of PFAS.




       66.     Plaintiff did not know, and in the exercise of reasonable diligence, could not have
known that the Class B foam he used and/or was exposed to in the course of performing his duties
contained PFAS or PFAS-containing materials, and similarly did not know and could not have
known that he routinely suffered exposure to PFAS or PFAS-containing materials in the Class B
foam he used and/or was exposed to in performing his duties.
       67.     These exposures to PFAS or PFAS-containing materials resulted in serious and life-
threatening diseases to Plaintiff, and continue to pose a significant health threat to him given the
bioaccumulation, pervasiveness and persistence of PFAS.

        B.     The Chemical Structure of PFAS Makes Them Harmful to Human Health
       68.     PFAS are known as “forever chemicals” because they are immune to degradation,
bio-accumulate in individual organisms and humans, and increase in concentration up the food
chain.11 Indeed, scientists are unable to estimate an environmental half-life (i.e. the time it takes



11
   Perfluoroalkyl and Polyfluoroalkyl Substances (PFAS), National Institute of Environmental
Health         Sciences          (last        visited         March        14,        2023),
https://www.niehs.nih.gov/health/topics/agents/pfc/index.cfm.


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for 50% of the chemical to disappear) for PFAS.12 Additionally, some PFAS chemicals (known
as “precursors”) degrade into different long-chain PFAS chemicals.13
       69.     PFAS are nearly indestructible and are highly transportable.14 PFAS exposure to
humans can occur through inhalation, ingestion, or dermal contact.15
       70.     PFAS chemicals include “older” long-chain PFAS like PFOA, PFOS, and PFNA
that have seven or more carbon atoms, and “newer” short-chain PFAS, like PFBA, PFBS, PFHxA,
and PFHxS. The PFAS chemical industry has repeatedly asserted that short-chain PFAS are safer
and bio-degrade more easily than long-chain PFAS. However, short-chain PFAS are molecularly
similar to long-chain PFAS, and recent scientific research conducted in 2020 shows that short-
chain PFAS are in fact extremely persistent, highly mobile and transportable, almost impossible
to remove from water, bio-accumulate in humans and the environment, and show similar toxicity
as long-chain PFAS.16 Short-chain PFAS also have lower technical performance and may
therefore be used at higher quantities cancelling out any supposed benefits of lower




12
   Id.
13
  Id. at fn. 6; Monica Amarelo, Study: Almost All Fluorine Detected in Fire Stations’ Dust Is From
Unknown “Forever Chemicals,” Environmental Working Group (February 5, 2021),
https://www.ewg.org/release/study-almost-all-fire-stations-dust-unknown-forever-chemicals.
14
   Toxicological Profile for Perfluoroalkyls, see Relevance to Public Health, Agency for Toxic
Substances        &      Disease       Registry,   (last   visited    March     14,     2023),
https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.
15
   Id. at pgs. 3-4; Ketura Persellin, Study: PFAS Exposure Through Skin Causes Harm Similar to
Ingestion, Environmental Working Group (January 13, 2020), https://www.ewg.org/news-
insights/news/study-pfas-exposure-through-skin-causes-harm-similar-ingestion.
16
  Cheryl Hogue, Short-chain and long-chain PFAS show similar toxicity, US National Toxicology
Program       says,    Chemical       and    Engineering     News,      (August     24,     2019),
https://cen.acs.org/environment/persistent-pollutants/Short-chain-long-chain-PFAS/97/i33;
David Andrews, FDA Studies: ‘Short-Chain’ PFAS Chemicals More Toxic Than Previously
Thought, Environmental Working Group (March 9, 2020), https://tinyurl.com/y3lbq7by; Stephan
Brendel et al., Short-chain Perfluoroalkyl Acids: Environmental Concerns and A Regulatory
Strategy Under REACH, Environmental Sciences Europe, Vol. 30, 1 (2018),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5834591/; Tom Neltner, The Elephant in the
Room: Potential Biopersistence of Short-Chain PFAS, Environmental Defense Fund, (February
20, 2019), http://blogs.edf.org/health/2019/02/20/potential-biopersistence-short-chain-pfas/.


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bioaccumulation potential.17
       71.     In October 2021, the U.S. Environmental Protection Agency (“EPA”) updated its
2018 assessment of short-chain PFAS, also known as “GenX,” finding that two of Defendant
Chemours GenX chemicals are more toxic than PFOA—the highly toxic chemical they were
intended to replace.18
       72.     To date, there is no safe, acceptable or “normal” level of PFAS in the human body.
Further, the fact that PFOA, PFOS, PFHxS, PFHpA, and PFNA are often found together presents
a substantial risk to human health. Defendants’ assertions that their products are safe because they
do not contain PFOA or PFOS, or because they contain short-chain PFAS is just another example
of their efforts to deflect from the reality that there are thousands of PFAS – including precursor
PFAS which degrade into PFOA and PFOS.19
       73.     PFAS exposure affects nearly every system in the human body.20 It has been
associated with multiple and serious adverse health effects in humans including, but not limited
to, cancer, tumors, liver damage, immune system and endocrine disorders, thyroid disease,
ulcerative colitis, birth defects, decreased fertility, pregnancy-induced hypertension, accelerated
changes in gene expression, and increases in oxidative stress which can contribute to DNA




17
   Martin Scheringer et al., Helsingør Statement on Poly- and Perfluorinated Alkyl Substances
(PFASs),               Chemosphere                  (June             14,              2014),
https://www.sciencedirect.com/science/article/pii/S004565351400678X.
18
  Cheryl Hogue, US EPA Deems Two GenX PFAS Chemicals More Toxic than PFOA, Chemical
& Engineering News (October 28, 2021), https://cen.acs.org/environment/persistent-
pollutants/US-EPA-deems-two-GenX-PFAS-chemicals-more-toxic-than-PFOA/99/i40.
19
   Technical Fact Sheet - Perfluorooctane Sulfonate (PFOS) and Perfluorooctanoic Acid (PFOA),
United         States      Environmental        Protection       Agency,    (Nov.       2017),
https://www.epa.gov/sites/production/files/2017-
12/documents/ffrrofactsheet_contaminants_pfos_pfoa_11-20-17_508_0.pdf.
20
   Kelly Lenox, PFAS Senate Hearing, Birnbaum’s Expert Scientific Testimony, Environmental
Factor, National Institute of Environmental Health Sciences (May 2019),
https://factor.niehs.nih.gov/2019/5/feature/1-feature-pfas/index.htm.


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changes, tumor promotion, and other health conditions.21 It has also been found to concentrate in
human blood, bones and organs, and to reduce the effectiveness of certain vaccines, a significant

concern in light of COVID-19.22

        C.     Defendants Knowingly Manufactured, Developed, Marketed, Distributed,
               Supplied and/or Sold Toxic PFAS and/or Products Containing PFAS
       74.     Defendants have each marketed, developed, distributed, sold, promoted,
manufactured, released, or otherwise used PFAS chemicals in products, including in PFAS-
containing turnout gear and Class B foam, throughout the United States and in New York.
       75.     PFAS were first developed in the 1930s and 1940s. Soon after, 3M began
manufacturing a PFAS material called perfluorooctanoic acid (“PFOA”), selling it to other
companies, including DuPont.
       76.     By the 1950s, PFAS were widely used in large-scale manufacturing. Prior to this,
PFAS had never been detected in nor were present in human blood or bodies.
       77.     In the 1960s, Class B foam containing PFAS entered the global market and became
the primary firefighting foam all over the world with 3M as one of the largest manufacturers.
       78.     In the 1970s, National Foam and Defendant Tyco began to manufacture, market
and sell Class B foam containing PFAS, followed by Defendant Chemguard in the 1990s, and
Defendant Buckeye in the 2000s.



21
   A. Koskela et al., Perfluoroalkyl substances in human bone: concentrations in bones and effects
on      bone      cell      differentiation,    Scientific  Reports,     (July     28,     2017),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5533791/pdf/41598_2017_Article_7359.pdf;
National Toxicology Program Technical Report on the Toxicology and Carcinogenesis Studies of
Perfluorooctanoic Acid Administered in Feed to Sprague Dawley (Hsd: Sprague Dawley SD) Rats,
National                Toxicology                Program,             (May                2020),
https://ntp.niehs.nih.gov/ntp/htdocs/lt_rpts/tr598_508.pdf; Jaclyn Goodrich et al., Per- and
Polyfluoroalkyl Substances, Epigenetic Age and DNA Methylation: A Cross-Sectional Study of
Firefighters, Epigenomics (October 2021), https://pubmed.ncbi.nlm.nih.gov/34670402/.
22
   Id. (Koskela study); Tasha Stolber, PFAS Chemicals Harm the Immune System, Decrease
Response to Vaccines, New EWG Review Finds, Environmental Working Group (November 12,
2020), https://www.ewg.org/news-and-analysis/2020/11/pfas-chemicals-harm-immune-system-
decrease-response-vaccines-new-ewg.


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       79.      Founded in 1918, Defendant MSA/Globe began manufacturing, marketing and
selling turnout gear with DuPont’s NOMEX® PFAS-containing flame resistant fabric in 1966.
MSA/Globe (under the Globe name) continues to manufacture, market and sell turnout gear using
PFAS-containing fabrics supplied by its partners, DuPont, Gore, Tencate, and PBI.23
       80.      Defendant Lion began to manufacture, market and sell turnout gear in 1970. Since
its founding, and continuing through to the present, Lion makes, markets and sells turnout gear
using PFAS-containing fabrics, including Teflon® F-PPE-treated thermal lining material supplied
by Defendants DuPont’s NOMEX® PFAS-containing flame/water/oil-resistant fabric, and
moisture barrier fabrics supplied by Defendant Gore.24
       81.      Defendant Honeywell acquired Norcross Safety Products LLC in 2008, entering
the protective gear industry and becoming one of the leading manufacturers of turnouts.
Honeywell makes, markets and sells turnout gear using PFAS-containing fabrics, supplied by

Defendants DuPont, Gore, PBI and StedFast.

        D.      Defendants Know Exposure to PFAS Causes Serious Health Impacts
       82.      Defendants, including specifically 3M and DuPont, have long known about the
serious and significant impacts to health caused by exposure to PFAS, having conducted study
after study on the exposure and health effects of PFAS on animals, and in some cases, even on
their own employees. The findings of these studies were discussed within the companies internally,
yet were never made public or shared with any regulatory agencies. Among the findings:

             a. A 1950 3M study showed that PFAS could build up in the blood of mice
                and that PFAS could bind to proteins in human blood suggesting that PFAS
                would not only remain, but also persist and accumulate in the body of the




23
    See Globe History, Globe MSA Safety Website, (last visited March 14, 2023),
https://globe.msasafety.com/history; Turnout Gear Materials, Globe MSA Safety Website, (last
visited February 26, 2021), https://globe.msasafety.com/materials.
24
   See Our History, Lion Website (last visited March 14, 2023), http://www.lionprotects.com/lion-
history; Firefighter Turnouts, Lion Website (last visited September 29, 2021),
https://www.lionprotects.com/firefighter-turnout-gear#.


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              exposed individuals with each additional exposure.25
          b. In 1961, a DuPont toxicologist warned that PFAS chemicals enlarge rat
             and rabbit livers.26 A year later, these results were replicated in studies
             with dogs.27
          c. In 1963, 3M’s technical handbook classified PFAS as toxic and advised
             that “due care should be exercised in handling these materials.”28
          d. In 1970, a company that purchased 3M’s firefighting foam had to abandon
             a test of the product because all the fish died.29
          e. In the 1970s, DuPont discovered that there were high concentrations of
             PFOA in the blood samples of factory workers at DuPont’s Washington
             Works site.30
          f. By the end of the 1970s, studies performed by, at least 3M, indicated that
             PFAS materials were resistant to environmental degradation and would
             persist in the environment.31
          g. In 1981, 3M, which still supplied PFOA to DuPont and other corporations,
             found that ingestion of PFOA caused birth defects in rats. 3M reported this
             information to DuPont. DuPont then tested the children of pregnant
             employees in their Teflon division and found that of seven births, two
             children had eye defects. Defendants reassigned the female employees, but
             did not inform the EPA or make this information public.32
          h. In 1988, a company that purchased PFAS firefighting foam complained to
             3M because the product was not biodegradable as 3M represented.33


25
   Timeline - For 50 Years, Polluters Knew PFAS Chemicals Were Dangerous But Hid Risks From
Public, Environmental Working Group, (2019), https://static.ewg.org/reports/2019/pfa-
timeline/3M-DuPont-Timeline_sm.pdf; see also, https://www.ewg.org/pfastimeline/.
26
   Id.
27
    Nathaniel Rich, The Lawyer Who Became DuPont’s Worst Nightmare, New York Times
(June 6, 2016), https://www.nytimes.com/2016/01/10/magazine/the-lawyer-who-became-
duponts-worst-nightmare.html.
28
   Id. at fn. 25.
29
   Id.
30
   Id.
31
    PFCS: Global Contaminants: PFCs Last Forever, Environmental Working Group, (April 3,
2003), https://www.ewg.org/research/pfcs-global-contaminants/pfcs-last-forever.
32
   Id. at fn. 25.
33
   The Devil They Knew: PFAS Contamination and the Need for Corporate Accountability, Part
II, Transcript of Hearing Before the Subcommittee on Environment of the Committee on Oversight
(footnote continued)


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               Subsequently, a 3M employee wrote an internal memo that “3M should
               stop perpetrating the myth that these fluorochemical surfactants are
               biodegradable, but the company continued to sell them.”34
            i. By at least the end of the 1980s, research performed by Defendants,
               including specifically, Defendants 3M and DuPont, manufacturing and/or
               using PFAS materials indicated that at least one such PFAS material,
               PFOA, caused testicular tumors in a chronic cancer study in rats, resulting
               in at least Defendant DuPont classifying such PFAS material internally as
               a confirmed animal carcinogen and possible human carcinogen.35
            j. In the 1990s, Defendant DuPont knew that PFOA caused cancerous
               testicular, pancreatic and liver tumors in lab animals. One study also
               suggested that PFOA exposure could cause possible DNA damage.36
               Another study of workers found a link between PFOA exposure and
               prostate cancer.37
            k. In response to the alarming and detrimental health impact, DuPont began
               to develop an alternative to PFOA and in 1993, an internal memo
               announced that “for the first time, we have a viable candidate” that
               appeared to be less toxic and showed less bioaccumulation.38 DuPont
               decided against using this potentially safer alternative, however, because
               products manufactured with PFOA were worth $1 billion in annual
               profit.39
            l. On June 30, 2000, 3M and DuPont met to share 3M’s “pertinent data on
               PFOA”. 3M informed DuPont that the half-life of PFOA was much longer
               than animal studies showed.40

      83.      Additionally, approximately fifty years of studies by Defendants, including by 3M
and DuPont, on human exposure to PFAS found unacceptable levels of toxicity and bio-



and        Reform,     House      of     Representatives  (September  19,     2019),
https://docs.house.gov/meetings/GO/GO28/20190910/109902/HHRG-116-GO28-Transcript-
20190910.pdf.
34
   Id.
35
   Id. at fn. 25.
36
   Id.
37
   Id.
38
   Id.
39
   Id.
40
    Internal DuPont Memorandum, DuPont Haskell Laboratory Visit (June 30, 2000),
https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1721.pdf.


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accumulation, as well as a link to increased incidence of liver damage, various cancers, and birth
defects in humans exposed to PFAS.41 These studies also revealed that, once in the body, PFAS
has a very long half-life and that it takes years before even one-half of the chemicals begins to be
eliminated from the body—assuming, of course, the body experiences no additional PFAS
chemical exposure.42
       84.     In the face of these findings, and despite passage of the Toxic Substances Control
Act in 1976, which requires companies that manufacture, process or distribute chemicals to
immediately report to the EPA information that “reasonably supports the conclusion” that a
chemical presents a substantial risk to health or the environment, Defendants did not inform the
EPA, Plaintiff, or the public about the health impacts resulting from exposure to PFAS.43 Indeed,
in at least some instances, Defendants’ own attorneys advised the companies to conceal their
damaging findings on PFAS, which they did for decades.44
       85.     In 2000, 3M announced that it would cease manufacturing a specific PFAS
chemical, PFOS, as well as Class B foam, on the same day the EPA announced that PFOA and
PFOS, two chemicals in the PFAS family, had a “strong tendency to accumulate in human and
animal tissues and could potentially pose a risk to human health and the environment over the long
term.”45
       86.     However, 3M did not recall PFOS, its chemical feedstock, or any Class B foam that
it had previously manufactured, sold, or distributed, or that was then stored at firehouses and being
used by firefighters around the country. And, no other Defendant stopped manufacturing PFAS
chemicals or products containing PFAS. Rather, Defendants continued to manufacture, develop,



41
   Id. at fn. 25.
42
   Id.
43
   Id.
44
   Id. at fn. 33.
45
    EPA and 3M Announce Phase Out of PFOS, Press Release, United States Environmental
Protection                 Agency              (May                16,             2000),
https://archive.epa.gov/epapages/newsroom_archive/newsreleases/33aa946e6cb11f35852568e10
05246b4.html.


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market, promote, distribute and sell PFAS chemicals and PFAS-containing products, including
specifically PFAS-containing turnouts, and Class B foams and did so without any warning to
firefighters or to the public concerning the fact that these turnouts and foams contained PFAS, or
that they posed a serious health risk to human health. Defendants instead continued to claim their
products were safe.
          87.         By the 2000s, Defendants’ own research of its employees revealed multiple adverse
health effects among workers who had been exposed to PFAS, including increased cancer
incidence, hormone changes, lipid changes, and thyroid and liver impacts.46
          88.         In 2001, a class action lawsuit was filed in West Virginia against DuPont on behalf
of people whose water had been contaminated by the nearby DuPont chemical plant where PFAS
chemicals were manufactured.
          89.         Defendants continued to manufacture, market, promote, distribute, and sell PFAS
and PFAS-containing products, including turnouts and Class B foam, and continued to publicly
claim that these products were safe. Defendants affirmatively suppressed independent research on
PFAS, and instead commissioned research and white papers to support their claims that PFAS and
PFAS-containing products were safe to use, engaging consultants to further this strategy and
ensure that they would continue to profit from these toxic chemicals and products.
          90.         As one consultant wrote in pitching its services to DuPont, it was critical that the
PFAS industry develop an aggressive strategy to “[discourage] governmental agencies, the
plaintiffs’ bar and misguided environmental groups” and “[implement] a strategy to limit the effect
of litigation and regulation on the revenue stream generated by PFOA.” The strategy was further
described by consultant as follows:

          DUPONT MUST SHAPE THE DEBATE AT ALL LEVELS. . . .The outcome of
          this process will result in the preparation of a multifaceted plan to take control of
          the ongoing risk assessment by the EPA, looming regulatory challenges, likely
          litigation, and almost certain medical monitoring hurdles. The primary focus of


46
     Id. at fn. 25.


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       this endeavor is to strive to create the climate and conditions that will obviate, or
       at the very least, minimize ongoing litigation and contemplated regulation relating
       to PFOA. This would include facilitating the publication of papers and articles
       dispelling the alleged nexus between PFOA and teratogenicity as well as other
       claimed harm. We would also lay the foundation for creating Daubert precedent
       to discourage additional lawsuits.47

       91.    Class B foam manufacturers and distributors adopted a similarly aggressive
industry campaign to evade government oversight or public attention of the risks posed by their
products. At a March 2001 meeting of the National Fire Protection Association’s Technical
Meeting on Foam, which included National Foam and Defendant Class B foam manufacturers
Tyco and Chemguard, a 3M representative informed attendees that 3M had discontinued its Class
B foam business, citing concerns about the “proven pervasiveness, persistence and toxicity” of
PFOS.48 Attendees also were informed of evidence that telomer-based fluorosurfactants (used by
every Class B foam manufacture except 3M) degrade to PFOA and, worse, exhibit an even greater
degree of pervasiveness and toxicity than PFOA.
       92.    On or about the same time, Kidde-Fenwal and certain Defendants, including at least

Tyco, DuPont, and Buckeye, founded and/or became members of the Fire Fighting Foam Coalition
(“FFFC”) – a non-profit organization of manufacturers, distributors and suppliers of Class B foam
(specifically AFFF). The FFFC’s self-described role was to be “the environmental voice for users
and manufacturers of AFFF”49 – one designed to ignore the health impacts of exposure to PFAS-
containing Class B foams such as AFFF:

       Not too long ago, 3M had environmental concerns about a chemical in their
       product and decided to withdraw from the AFFF market. Even though no other
       manufacturers used the questionable chemical, the withdrawal of 3M from AFFF
       production raised a red flag. As a direct result, a lot of half-truths and


47
   Letter from P. Terrence Gaffney, Esq of The Weinberg Group to Jane Brooks, Vice President,
Special Initiatives, DuPont de Nemours & Company, regarding PFOA (April 29, 2003).
48
   NFPA-11 Technical Committee Meeting Notes (National Fire Protection Association for
Standards on Low-, Medium- and High-Expansion Foam) (March 14-15, 2001),
https://assets.documentcloud.org/documents/4178280/NFPA-Schedule.pdf.
49
   Fire Fighting Foam Council Website (last visited March 14, 2023), https://www.fffc.org/afff-
update.


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       misinformation published by some well-meaning, but misinformed, groups began
       to surface. One organization went so far as to label our products as "hazardous
       waste" and as posing an "occupational health or environmental hazard." At the
       same time, the Federal government was focusing its attention on the industry and
       needed to identify an industry representative that could provide fact-based
       information and serve as a focal point for dialogue. We decided, therefore, to form
       the FFFC in order to educate, inform and help persuade regulatory and legislative
       decision-makers that firefighting foams are a value-added component to any
       firefighting capability.50

       93.    Defendants also pivoted with a new industry strategy. Defendants continued to
produce Class B foams containing PFAS and continued to publicly represent that PFAS and/or

products containing PFAS were safe, while developing newer, “short-chain” PFAS alternatives.
       94.    In 2005, the EPA fined DuPont $16.5 million for failing to submit decades of
toxicity studies of PFOA (one PFAS chemical manufactured by the company).51 In the face of
and undeterred by the EPA’s action, Defendant turnout manufacturers, such as MSA/Globe and
Lion, partnered with DuPont and Defendant Gore to develop, manufacture, market, distribute
and/or sell turnouts made with DuPont’s and/or Gore’s PFAS-based textile coatings (e.g.,
Nomex® and Gore® Protective Fabrics).52
       95.    In 2006, the EPA “invited” eight PFOA manufacturers, including Defendants

DuPont, 3M, and Arkema, to join in a “Global Stewardship Program” and phase out production of
PFOA by 2015.53


50
   Id. at https://web.archive.org/web/20020811142253/http:/www.fffc.org/about.html (captured
August 11, 2002).
51
   Michael Janofsky, DuPont to Pay $16.5 Million for Unreported Risks, New York Times
(December 5, 2005), https://www.nytimes.com/2005/12/15/politics/dupont-to-pay-165-million-
for-unreported-risks.html.
52
   DuPont and Lion Collaborate to Better Protect Firefighters and First Responders, Press
Release,           DuPont         and        Lion          (January          30,        2013),
https://www.prweb.com/releases/dupont_protection_tech/lion_turnout_gear/prweb10362363.htm
; Our Partners, Globe Website (last visited March 14, 2023), https://globe.msasafety.com/our-
partners; and Firefighter & Emergency Response Protection, DuPont Website (last visited March
14, 2023), https://www.dupont.com/personal-protection/firefighter-protection.html.
53
   PFOA Stewardship Program, United States Environmental Protection Agency (last visited
March 14, 2023), https://www.epa.gov/assessing-and-managing-chemicals-under-tsca/risk-
management-and-polyfluoroalkyl-substances-pfas#tab-3.


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       96.     By this time, Defendants had begun to aggressively manufacture, market and/or
distribute short-chain PFAS, such as Gen X, claiming that these alternative PFAS chemicals did
not pose significant health risks to humans or the environment. But, these claims, too, were false.
Defendants knew that certain of these short-chain PFAS chemicals had been found in human
blood, and that at least one of them produces the same types of cancerous tumors (testicular, liver,
and pancreatic) in rats as had been found in long-chain PFAS studies.54
       97.     In 2011, a C8 Science Panel convened as part of a settlement in the West Virginia
DuPont water contamination case described in paragraph 117, above, began releasing its findings.
The Panel had analyzed the blood serum of nearly 70,000 residents living in the water
contamination area for two long-chain PFAS (PFOA and PFOS), and found significant negative
human health effects (including, kidney cancer, testicular cancer, ulcerative colitis, thyroid
disease, high cholesterol and preeclampsia) associated with exposure to these PFAS chemicals in
the area groundwater.
       98.     In 2013, DuPont entered an agreement with the EPA and ceased production and use
of PFOA – just one of thousands of PFAS chemicals the company makes, promotes and sells.
Defendants, however, continued manufacturing short-chain PFAS materials, chemical feedstock,
and products—all the while peddling them as safer, and as more easily bio-degraded than long-
chain PFAS, despite evidence to the contrary.55
       99.     In 2015, DuPont spun-off its PFAS chemicals business, as well as two-thirds of its
environmental liabilities and 90% of its active litigation, to Defendant Chemours. As part of the
transaction, DuPont required Chemours to indemnify the “new” DuPont for all assigned
environmental liabilities should a regulatory agency or plaintiff seek to hold the “new” DuPont
accountable. As Chemours President Paul Kirsch testified before Congress: “DuPont designed the



54
   Sharon Lerner, New Teflon Toxin Causes Cancer in Lab Animals, The Intercept (March 3, 2016),
https://theintercept.com/2016/03/03/new-teflon-toxin-causes-cancer-in-lab-animals/.
55
   Id. at fn. 16, see Tom Neltner, http://blogs.edf.org/health/2019/02/20/potential-biopersistence-
short-chain-pfas/.


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separation of Chemours to create a company where it could dump its liabilities to protect itself
from environmental cleanup and related responsibilities.”56
       100.    In June 2018, the Agency for Toxic Substances and Disease Registry (ATSDR), a
division of the Centers for Disease Control and Prevention at the US Department of Health and
Human Services released an 852-page draft toxicology report analyzing scientific data about the
most common PFAS chemical variants, finding that PFAS “are potentially more hazardous than
previously known, are particularly concerning because of these compounds’ persistence in the
environment and widespread prevalence—PFAS are extremely slow to biodegrade.”57
       101.    In September 2019, DuPont chief operations and engineering officer Daryl Roberts
testified before Congress that the “new DuPont” (to be distinguished from the “old DuPont” which
manufactured and sold PFAS for decades before being spun-off to Chemours) no longer uses or
manufactures PFAS and is no longer responsible for obligations and harms resulting from over 65
years of producing PFAS.58 Roberts remarked that he knew nothing about “old DuPont’s” efforts
to suppress research on PFAS’ toxicity as testified to by one of DuPont’s former scientists only a
few days earlier.59 Finally, he stated that any liabilities from “old DuPont’s” PFAS operations
were now Chemours’ problem because DuPont is essentially a completely new company with no
past – only a bright future of doing good in the world.60

        E.     Defendants Failed to Warn Plaintiff of the Dangers of Exposure to PFAS and
               Falsely Represented That Their PFAS Products Were Safe

       102.    As alleged above, Defendants knew that PFAS are persistent, toxic, and bio-
accumulating with a very long half-life. They knew that exposure to PFAS can cause serious and


56
   Id. at fn. 33.
57
   A Toxic Threat: Government Must Act Now on PFAS Contamination at Military Bases, Center
for             Science        and              Democracy             (September             2018),
https://www.ucsusa.org/sites/default/files/attach/2018/09/a-toxic-threat-pfs-military-fact-sheet-
ucs-2018.pdf.
58
   Id. at fn. 33.
59
   Id.
60
   Id.


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life-threatening diseases, including cancer.
       103.    Yet, Defendants did not warn firefighters, including Plaintiff, that PFAS and
Defendants’ PFAS-containing products, including turnouts and Class B foams used by Plaintiff,
contained PFAS, or that exposure to PFAS in the normal and intended use of such products, causes
serious bodily harm and illnesses, including cancer.
       104.    Instead, Defendants falsely represented—and continue to falsely represent— that
PFAS and PFAS-containing products, including turnouts and Class B foams, are safe and not
harmful to humans or the environment.
       105.    Such assertions fly in the face of science and a global movement toward eliminating
this class of chemicals from consumer products. In 2020, for example, Congress passed legislation
to address PFAS in turnouts and foam,61 and numerous states have severely restricted and/or
banned PFAS-containing firefighting foam. For example, Massachusetts will require sellers of
turnout gear to notify purchasers if it contains PFAS, while Colorado has banned PFAS-containing
turnouts as of 2022.62 The U.S. Food and Drug Administration similarly has called for phasing




61
    Ryan Woodward, Congress Passes Legislation to Address PFAS Chemicals Impacting
Firefighters, Fire Rescue 1, (December 17, 2020), https://www.firerescue1.com/legislation-
funding/articles/congress-passes-legislation-to-address-pfas-chemicals-impacting-firefighters-
Sp8MFif5dAbD4ZrI/.
62
    Andrew Wallender, Toxic Firefighting Foam With PFAS Scrutinized by Multiple States,
Bloomberg Law (June 18, 2020), https://news.bloomberglaw.com/pfas-project/toxic-firefighting-
foam-with-pfas-scrutinized-by-multiple-states; Cheryl Hogue, Massachusetts Bans PFAS
Firefighting     Foams,     Chemical      &    Engineering      News    (October     1,    2020),
https://cen.acs.org/environment/persistent-pollutants/Massachusetts-bans-PFAS-firefighting-
foams/98/i38#:~:text=Massachusetts%20is%20halting%20the%20sale,US%20market%20to%20
do%20so; Marianne Goodland, While Dozens of Bills Are Getting Axed, A Bill on Firefighting
Chemicals         Sails      On,        Colorado       Politics      (May       28,        2020),
https://www.coloradopolitics.com/legislature/while-dozens-of-bills-are-getting-axed-a-bill-on-
firefighting-chemicals-sails-on/article_1b1e05f2-a11e-11ea-a270-230a36e06594.html;
Legislature Takes Strongest Stand Yet to Phase out PFAS in Firefighting Foam, Washington State
Council of Fire Fighters (March 5, 2020), https://www.wscff.org/legislature-takes-strongest-
stand-yet-to-phase-out-pfas-in-firefighting-foam/;



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out of short-chain PFAS that contain 6:2 fluorotelomer alcohol (6:2 FTOH).63 And private
companies like Home Depot, Lowes and Staples recently have begun to discontinue selling
products containing any PFAS, as have several outdoor, durable clothing companies (e.g.
Columbia and Marmot), clothing retailers (e.g. H&M, Levi Strauss & Co), shoe companies (e.g.
Adidas and New Balance), car seat manufacturers (e.g. Britax and Graco), furniture companies
(e.g. IKEA), personal care companies (e.g. Johnson & Johnson and Oral-B), and textile
manufacturing companies.64 Most recently, on March 14, 2023, the Environmental Protection
Agency (“EPA”) released a proposed national primary drinking water regulation for
perfluorooctane sulfonic acid (PFOS) and perfluorooctanoic acid (PFOA) that would further
reduce the maximum contaminant levels to 0.004 parts per trillion (ppt) which is the lowest level
that these chemicals can be reliably measured. For GenX, PFBS, PFNA and PFHxS, the EPA is
also proposing a hazard index which allows the agency to assess the cumulative risks resulting
from a combination of chemicals.
              (1)    Defendants Provide No Safety Warnings on Product Labels
        106. Plaintiff alleges that the packaging on the PFAS-containing Class B foam
containers used for mixing Class B foam with water, and for spraying and laying foam blankets
for fire suppression or fire suppression training, contained no warning that the Class B foam
contained PFAS. Nor did it inform persons handling or using the foam as it was intended to be
handled that such use can result in exposure to PFAS and serious bodily harm.
       107.   Below are photos typical of some of the Class B foam containers manufactured,


63
   FDA Announces the Voluntary Phase-Out by Industry of Certain PFAS Used in Food
Packaging, U.S. Food and Drug Administration, July 31, 2020, https://www.fda.gov/food/cfsan-
constituent-updates/fda-announces-voluntary-phase-out-industry-certain-pfas-used-food-
packaging.
64
   Muhannad Malas, Home Depot, Lowe’s and Staples Take Action to Protect Their Customers
from PFAS and Other Harmful Toxics Lurking in Carpets and Office Supplies, Environmental
Defence (November 5, 2019), https://environmentaldefence.ca/2019/11/05/home-depot-lowes-
staples-protect-customers-toxics/; PFAS-Free Products, PFAS Central, (last visited March 14,
2023), https://pfascentral.org/pfas-free-products/.



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marketed, distributed, or sold by Defendants in New York that Plaintiff was exposed to in training
or in fire suppression during his firefighting career. The labels on the containers warn only of
possible skin or eye irritation, and suggest rinsing areas of contact with water. They contain no
information about the Class B foam containing PFAS or PFAS-containing materials, and provide
no warning whatsoever of the human health risks and serious health conditions associated with
PFAS exposure resulting from the normal and intended use of Class B foam in fire suppression or
fire suppression training.




       108.    Plaintiff further alleges that turnouts containing PFAS or PFAS materials sold by
Defendants in New York, and used by Plaintiff in training, emergency incidents, or in fire
suppression during his firefighting career, also contained no warning that the turnouts contain
PFAS or PFAS materials. Nor did these labels inform persons handling, wearing, or using the
turnouts as they were intended to be handled, worn or used can result in exposure to PFAS and
serious bodily harm.



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       109.    Below are photos typical of warning labels for turnouts manufactured, marked, sold
and distributed by Defendants MSA/Globe and Lion. As depicted below, the labels do not disclose
that the PFAS or PFAS materials in the turnouts are toxic, and contain no warning that handling,
wearing, or using the turnouts as they were intended to be handled, worn or used can result in
exposure to PFAS and serious bodily harm. Further, while the labels provide washing instructions,
the instructions do not advise that turnouts should be washed in a commercial extractor to prevent
cross-contamination and PFAS-exposure to family members who handle or wash the turnouts with
other garments in home washing machines.




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               (2)   Defendants’ MSDS Sheets Do Not Warn About PFAS or PFAS Exposure
        110.   A Material Safety Data Sheet (or “MSDS”) is a document that Occupational Safety
and Health Administration (OSHA) requires companies to provide to end users for products that
contain substances or chemicals that are classified as hazardous or dangerous. Access to such
information is necessary for Plaintiff to provide a safe and effective response in emergency
situations.

        111.    The MSDS provided with Defendants’ Class B foams did not – and to this day do
not – state that these foams contain PFAS or PFAS-containing materials; that PFAS is persistent,
toxic and bio-accumulating; or that PFAS exposure causes serious bodily harm. To the contrary,
the MSDS falsely stated that the Class B foams and/or their contents were not known carcinogens
and did not cause birth defects.



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       112.    Even now, the MSDS do not reflect the known serious health risks and hazards
associated with exposure to PFAS in these Class B foams. For example, a MSDS updated on May
19, 2021 by National Foam for AFFF stated the product was not considered carcinogenic -
contrary to decades of science.65
               (3)   Defendants’ Fraudulent Concealment About PFAS Continues to this Day
       113.    Despite their decades of knowledge about PFAS and its dangers, Defendants
continue to make false claims, continue to misrepresent the safety of PFAS, and continue to
minimize and fail to warn about the hazards of exposure to PFAS, or turnouts and Class B foams
made with or containing PFAS.
       114.    As alleged above, Defendants’ misinformation campaign is long-standing, and
continues to this day. Some pertinent examples include:

           a. 2017 – Defendant Lion’s President, Stephen Schwartz, wrote a letter to the
              editor of the Columbus Dispatch, expressing outrage at the assertion in a
              government filing that firefighters may have been exposed to PFAS through
              turnout gear. Schwartz called this assertion false, stating that Lion’s turn-out
              gear is not treated or made with PFOS or PFOA: “PFOAs and PFOSs have
              never been components of Lion’s turn-out gear, either as a coating or as a
              textile.” He acknowledged that turn-out gear is treated with PTFE to provide
              a durable water repellant, and that the textile industry in the past had used
              PFOA as a processing aid to manufacture PTFE moisture barrier films and
              repellants. “It is possible that trace amounts may have been present as a
              residue when the films and finishes were incorporated into Lion’s turn-out
              gear. However, based on all available scientific data, such nominal trace
              amounts, if they existed at all, would not have posed any health risk to
              firefighters. There is absolutely no connection at all between PFOS and
              firefighter turnout gear.” (Emphasis added).66




65
   National Foam Safety Data Sheet for Centurion (TMC6) 6% Aqueous Film Forming Foam
Concentrate        (AFFF)        (May         19,       2021)      https://nationalfoam.com/wp-
content/uploads/sites/4/NMS340_Centurion-6-AFFF-Concentrate_052192021.pdf.
66
   Letter from Lion president Stephen A. Schwartz to Ala D. Miller, Editor, The Columbus
Dispatch (October 30, 2017), http://files.constantcontact.com/bf8abd7a001/01f5d727-d72e-42dc-
971b-caa9c2855800.pdf.


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          b. 2018 – The National Fire Protection Association (which maintains
             committees on foams and turnouts that are comprised, in part, of certain
             Defendants) issued a publication listing 11 ways to minimize risk of
             occupational cancer – the suggestions centered on wearing turnouts for
             protection resulting from combustion or spills, and cleaning turnouts after
             exposure to chemicals. There was not a single mention of avoiding contact
             with foam and/or the risks of wearing turnouts containing PFAS or PFAS-
             containing materials.67

          c. 2019 – Defendant Lion issued a Customer Safety Alert for PFOA and Turnout
             Gear stating: “Your Lion turnout gear continues to be safe and ready for
             action especially when properly maintained. It is extremely important that
             firefighters continue to wear and properly care for their gear to stay safe on
             the job.”

          d. 2019 – Defendant 3M Vice President, Denise Rutherford, testified before
             Congress that she absolutely agreed with the statement that “the weight of
             current scientific evidence does not show that PFOS or PFOA cause
             adverse health effects in humans at current rates of exposure.” (emphasis
             added)68

          e. 2019 - The Fire Fighting Foam Council (of which many Defendants have been
             members since its inception in 2001) wrote in their newsletter that: “Short-
             chain (C6) fluorosurfactants do not contain or breakdown in the environment
             to PFOS or PFOA and are currently considered lower in toxicity and have
             significantly reduced bio-accumulative potential than long-chain PFAS.”69

          f. 2019 – Defendant Gore issued a public statement, stating that “the potential
             exposures and associated risks of cancer effects from PFOA alternative and
             non-polymeric perfluoroalkyl substances in Gore Components [turnout gear]




67
   11 Best Practices for Preventing Firefighter Cancer Outlined in New Report Put Out by VCOS
and NVFC, National Fire Protection Association Xchange (August 16, 2018),
https://community.nfpa.org/community/nfpa-today/blog/2018/08/16/11-best-practices-for-
preventing-firefighter-cancer-outlined-in-new-report-put-out-by-vcos-and-nvfc.
68
   Gabe Schneider, 3M Grilled over PFAS Chemicals at Congressional Hearing, MinnPost
(September 11, 2019), https://www.minnpost.com/national/2019/09/3m-grilled-over-pfas-
chemicals-at-congressional-hearing/.
69
      AFFF Update Newsletter, Fire Fighting Foam Council (April 2019),
https://tinyurl.com/y57c5jwx.


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              are insignificant.”70
          g. 2020 - FluoroCouncil – the lobbying arm of the PFAS industry – maintains
             that PFAS fluorotelomers that are in Class B foam and turnouts do not cause
             cancer, disrupt endocrine activity, negatively affect human development or
             reproductive systems, do not build up in the human body, and do not become
             concentrated in the bodies of living organisms.71

         h.   2020 – The Fire Fighting Foam Council website states: “The short-chain (C6)
              fluorosurfactants that have been the predominant fluorochemicals used in
              fluorotelomer-based AFFF for the last 25 years are low in toxicity and not
              considered to be bio-accumulative based on current regulatory criteria.”72

         i.   2020 – The Fire Fighting Foam Council’s Best Practice Guidance for Use of
              Class B Foam - which was published in May 2016 and has not been updated
              to reflect the latest research - focuses entirely on eliminating and containing
              foam to minimize impact on the environment. It makes no mention of how
              to minimize the impact on firefighters who routinely handle, prepare, spray,
              or use Class B foam during training or in firefighting.73

         j.   2020 – Defendant Lion-hired consultant Paul Chrostowski, PhD took out a
              full-page in Firefighter Nation to argue that turnout gear is completely safe
              and any evidence to the contrary, including the Notre Dame study, is
              unreliable and fear-mongering. “[E]ven if PFAS were found in their turnout
              gear, at this time there is no credible evidence that it ends up in firefighters’
              bodies in amounts that would be higher than the general population…. the
              connection between PFAS and cancer is extremely weak. The few peer-
              reviewed epidemiological studies that have found an association were not


70
   W. L. Gore and Associates, Exposure Assessment and Cancer Risk Characterization for
Firefighters from Non-Polymeric PFAS Residuals in Gore Components Used in Firefighting Gear,
(August                                        20,                                    2019),
https://www.goretexprofessional.com/sites/tof/files/pdfs/Firefighter%20Exposure%20Assessmen
t%20Short%20Chain%20Non%20Polymer%20Residual.pdf.
71
   An Important Update About FluoroCouncil, FluoroCouncil, Global Industry Council for Fluoro
Technology                  (https://portal.ct.gov/DEEP/Remediation--Site-Clean-Up/PFAS-Task-
Force/Pollution-Prevention-Committee - see “Resources” -- Fluorocouncil PFAS Information
(August 23, 2019).
72
    Fact Sheet on AFFF Fire Fighting Agents, Fire Fighting Foam Council (2017),
https://tinyurl.com/yyxscyas.
73
   Best Practice Guidance for Use of Class B Firefighting Foams, Fire Fighting Foam Council
(May 2016), https://tinyurl.com/2kzdsed9.


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                   statistically significant and inconsistent with other studies…. The materials
                   used in turnout gear are the safest materials available, and without them,
                   firefighters would be at extreme risk for burns and exposure to known cancer-
                   causing toxic chemicals present on the fireground, as well as metabolic heat
                   stress…. Alternative materials tried by the U.S. fire service thus far have
                   proven to be unsafe.”74

              k.   2020 – Defendant Lion through its hired consultant Chrostowski also stated
                   in Firefighter Nation that all turnouts are compliant with the standards set by
                   the NFPA and Swiss organization OEKO-TEX’s Standard 100 for PPE and
                   Materials for PPE. “The OEKO-TEX certification process tests for the
                   presence of unsafe levels of trace materials, including PFOA.”75

              l.   2021 - In a New York Times article, Defendant W.L. Gore maintained that its
                   turnout products were safe.76

              m. 2021 – Defendant Lion stated that the representations articulated by its
                 consultant Paul Chrostowski in 2020 (see above), reflect its position: “Dr.
                 Chrostowski’s report says it all for Lion.”77

              n.   2021 – Defendants MSA/Globe and W. L. Gore have continued to state that
                   their products have been tested and are safe.78

              o.   2022 – Defendant 3M stated that it was not "necessary or appropriate" to




74
   Paul Chrostowski, Research and Independent Testing Shows Firefighters’ Turnout Gear
Remains Safe Despite Claims (June 3, 2020), https://www.firefighternation.com/health-
safety/research-and-independent-testing-shows-firefighters-turnout-gear-remains-safe-despite-
claims/#gref.
75
     Id.
76
  Hiroko Tabuchi, Firefighters Battle an Unseen Hazard: Their Gear Could Be Toxic, New York
Times, (January 26, 2021), https://www.nytimes.com/2021/01/26/climate/pfas-firefighter-
safety.html.
77
   David Ferry, The Toxic Job of Being A Hero, Men’s Health, (September 21, 2021),
https://www.menshealth.com/health/a37624731/cancer-firefighter-gear-pfas/.
78
  Andrew Wallender, Firefighters Want Halt on Money From Makers of PFAS-Laden Gear,
Bloomberg Law, (January 19, 2021), https://news.bloomberglaw.com/pfas-project/firefighters-
want-halt-on-money-from-makers-of-pfas-laden-gear.



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               declare any PFAS hazardous.79 It also states on its website that: “The weight
               of scientific evidence from decades of research does not show that PFOS or
               PFOA causes harm in people at current or past levels….Decades of research
               into the health of these workers has not identified negative health outcomes
               caused by exposure to PFOA or PFOS….It is important to know that while
               some studies may find links or associations with possible health outcomes,
               this is not the same as causation. The weight of scientific evidence does not
               show that PFOS or PFOA causes harm to people at current or historical levels.
               Although PFAS have been detected in the environment at extremely low
               levels, their mere presence does not mean they are harmful…. Although it has
               been widely reported that no causal connection has been identified between
               exposure to PFOS or PFOA and harm to people’s health, there is a great deal
               of misinformation in the public domain…. The findings of the C-8 science
               panel are also frequently misunderstood.”80

          p.   2022 - DuPont and Chemours also continue to assert that there is little
               scientific evidence to support that PFAS and/or certain PFAS, like
               fluoropolymers, are harmful to human health.81

          q.   2022 - DuPont maintains that turnouts keep firefighters safe and “protect
               against the intrusion of…chemicals.”82


       115.    As frequent sponsors and advertisers in fire service publications, Defendants have
been so influential in the industry that fire service leadership has echoed these narratives.
       116.    For example, in 2017, the International Association of Fire Fighters (“IAFF”),



79
   Jim Spencer, 3M's Support for PFAS Could Cost Taxpayers Billions of Dollars, Star Tribune
(September 11, 2021), https://www.startribune.com/3m-s-support-for-pfas-could-cost-taxpayers-
billion-of-dollars/600096094/.
80
    3M website, PFAS Stewardship – Health Science (last visited January 12, 2022),
https://www.3m.com/3M/en_US/pfas-stewardship-us/health-science/.
81
     DuPont website, Information on PFAS (last visited January 12, 2022),
https://www.pp.dupont.com/pfas/what-governmental-agencies-say.html; Chemours website, Our
Commitment       to   PFAS     Stewardship     (last     visited     January     12,  2022),
https://www.chemours.com/en/corporate-responsibility/sustainability-safety/our-commitment-to-
pfas-stewardship.
82
   Id. at DuPont website (last visited January 12, 2022),
https://www.pp.dupont.com/knowledge/dupont-technology-in-your-turnout-gear.html.



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which represents more than 333,000 full-time professional firefighters, issued a statement that both
mischaracterized and purported to state that the risks associated with exposure to PFAS and PFAS
chemicals and materials in turnouts and Class B foams was minimal to non-existent.83 The
statement even encouraged firefighters to continue to wear turnouts and use legacy Class B foams,
creating a false sense that these PFAS-containing turnouts and foams were safe. The statement
reads, in relevant part:

        Importantly, PFOA use has been almost completely phased out in the US…. Fire
        fighters may have additional PFOA exposure sources such as older Class B
        firefighting foams. If PFOA is a combustion product of PFOA-containing
        consumer products made prior to phasing out use of this chemical, fire fighters
        will be exposed in fire suppression activities. However, the data are too limited at
        present to determine this. PFOA is unlikely to be a component in recently US
        manufactured turnout gear. However, if PFOA is a combustion product, it may be
        present as a contaminant on turnout gear. PFOA may also be present as a
        manufactured component of legacy turnout gear…. The exposure contribution
        from any such PFOA content is likely to be minimal since volatilization from the
        manufactured product would be required….At this time, IAFF does not
        recommend that legacy turnout gear be replaced outside of its lifecycle. Fire
        fighters wishing to minimize PFOA exposure should continue to wear their
        PPE…and regularly decontaminate their turnout gear. IAFF will continue to
        monitor developments and update this fact sheet should new information become
        available.84


        117.    The IAFF maintained the Defendants’ position that the turnout gear and Class B
foam was safe until new leadership took over in 2021. Because of these and other false claims and


83
  The IAFF maintained this position until January 2021 when IAFF members demanded that the
IAFF leadership hold turnout and Class B foam manufacturers accountable. In July 2021, new
IAFF President Edward Kelley made clear that the cancer rates of firefighters is unacceptable and
that IAFF is actively working to rid the fire service of the toxic PFAS found in firefighting foams
and turnout gear. “The data is becoming clearer. The gear that’s supposed to be protecting us is
poisoning us. It defies logic. IAFF, Address by IAFF General President Edward Kelly, Facebook
(July 16, 2021), https://www.facebook.com/IAFFonline/videos/180233720677454.
84
   Statement on PFOA and Turnout Gear, International Association of Firefighters, (May 2017),
https://tinyurl.com/y29mfh69.



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misrepresentations on the part of Defendants, Plaintiff did not know and, in the exercise of
reasonable diligence, could not have known that the turnouts and Class B foams they used
contained PFAS or PFAS-containing materials, and caused Plaintiff to be exposed to PFAS and/or
PFAS-containing materials, causing him to suffer ulcerative colitis and other serious illnesses as a
result of such exposure.
       118.    Also, in January 2021, Defendants DuPont and Chemours along with Corteva (the
agricultural unit of DuPont that it spun off in 2019) announced a cost-sharing agreement worth $4
billion to settle lawsuits involving the historic use of PFAS – thereby acknowledging, at long last,
the significant harm their PFAS chemicals have caused to human health and the environment.

        F.     New Research Indicates That Firefighters are at Significant Risk of Harm
               From Exposure to PFAS in Turnouts and Class B Foams — But Defendants
               Continue to Discount or Deny These Risks
       119.    While historical research (and follow-on litigation) has centered on environmental
impacts and environmental exposures associated with PFAS and PFAS-containing products,
recent studies have focused specifically on the serious health impacts to firefighters stemming
from their occupational exposure to turnouts and Class B foams containing PFAS.
       120.    In October 2019, for example, an expert panel of the International Pollutants
Elimination Network (IPEN), an international non-profit organization comprised of over 600
public interest non-governmental organizations dedicated to improving global chemical waste
policies, published a scientific paper that, in the words of its authors, “presents unequivocal
evidence from recent studies that firefighters” using Class B foams (primarily AFFF) “have
unexpectedly elevated blood levels” of PFAS, including, specifically, PFHxS and PFOS, with
PFHxS (a short-chain, C6 PFAS) being “potentially of greater concern than PFOS given its much
longer elimination half-life in humans.”85      The paper explains that “[f]irefighters can be
significantly exposed to PFHxS and other PFAS from firefighting foam via various occupational


85
  Perfluorohexane Sulfonate (PFHxS) – Socio-Economic Impact, Exposure and the Precautionary
Principle          Report,          IPEN        Expert       Panel      (October         2019),
https://ipen.org/sites/default/files/documents/pfhxs_socio-economic_impact_final_oct.2019.pdf.


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mechanisms including direct exposure during use as well as exposure from contaminated personal
protective equipment (PPE), handling of contaminated equipment, managing PFAS foam wastes,
occupation of contaminated fire stations and consumption of contaminated local water and
produce. Cross-contamination and legacy PFAS residues from inadequately decontaminated
appliances after transitioning to fluorine-free foam can remain a long-term problem.”86 The panel
concluded that “[o]ngoing exposure to PFHxS, PFOS and other PFAS amongst firefighters
remains a major occupational health issue,” noting that “[b]io-accumulation and very slow bio-
elimination may be very significant influencing factors in PFHxS exposure” in firefighters87. “Of
greater concern,” the panel observed, “is that firefighter blood levels for PFOS and PFHxS are
many times higher than the median values for the general…population.”88
            121.     In June 2020, scientists at the University of Notre Dame published a ground-
breaking study on PFAS in turnout gear, and the exposure risks posed to firefighters that wear,
wore, or handle such gear (“Notre Dame Turnout Study”). The Notre Dame Turnout Study
analyzed over 30 sets of used and unused (still in their original packaging) turnout gear made by
six U.S. manufacturers, including Defendants MSA/Globe, Lion and Honeywell, over several
production years, as listed below:89




86
     Id. at p. 25.
87
     Id.
88
     Id.
89
     Id. at fn. 5.



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            122.    The Notre Dame Turnout Study noted that these manufacturers’ turnout gear (or
personal protective equipment-PPE, as it is described in the study) are manufactured “from textiles
that are made from fluoropolymers (one form of PFAS) or extensively treated by PFAS in the form
of side-chain fluoropolymers.”90          According to the researchers, “[t]hese PFAS include
fluoropolymer materials such as PTFE used as a moisture barrier in the inner layers of turnout
gear.”91 The study found significant levels of PFAS chemicals – including PFOA, PFOS, PFBA,
PFPeA, PFHxA, PFHpA, PFNA, PFDA, PFUnA, PFDoA, PFTrDA, PFToDA, PFBS, PFOSA, N-
EtFOSA, MeFOSAA, N-MeFOSE, N-EtFOSE and 6:20FTS – in both new and used turnout gear,
and across layers, portions, and materials in the turnout gear, including in material layers that are
not intentionally treated with PFAS by the manufacturer, thereby providing “the first evidence that
suggests PFAS appear to migrate from the highly fluorinated layers and collect in the untreated
layer of clothing worn against the skin.”92
            123.    These findings suggest that, as the garments are worn, PFAS from the outer shell
and the moisture barrier can migrate from the turnouts and contaminate both the firefighter, their
apparatus and workplace with PFAS. The analysis also indicated that fluoropolymers from the
outer layer decompose into other PFAS, including PFOA.



90
     Id. at p. A.
91
     Id.
92
     Id. at p. C.



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       124.      “Startlingly,” researchers reported, “garment to hand transfer of total fluorine in the
ppm range was also observed when researchers simply manipulated the textiles in [the]
laboratory.”93     The accumulation of PFAS on researchers’ hands strongly suggests that
transference of ppm levels of PFAS can occur merely by handling the turnouts and that PFAS
exposure pathways include inhalation, ingestion and/or absorption (through dermal contact) – all
of which DuPont internally acknowledged as being toxic in 1980. Such exposure pathways are a
concern not only for firefighters that rely on turnouts to protect them from heat, fire, water and
chemical hazards in the field, but to family members who may be exposed to the PFAS in turnouts
as the result of home washing or storage. Lead researcher Graham Peaslee commented that
turnouts are “the most highly fluorinated textiles I’ve ever seen”94 and that the level of PFAS in
the turnout gear means that firefighters are “swimming in a sea of [PFAS]. Those numbers for


93
  Id.
94
   Raleigh McElvery, Protective Gear Could Expose Firefighters to PFAS, Chemical and
Engineering      News       (July    1,     2020), https://cen.acs.org/environment/persistent-
pollutants/Protective-gear-expose-firefighters-
PFAS/98/i26?fbclid=IwAR3ktyIcasjnxHiv3RNDRJldZmunQleAEoS3Av225uOscj2hFbffVcO3-
Go.



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scientists are scarily high...”95




        125.    Despite these findings, Defendants were quick to mischaracterize, dismiss or
downplay the significance of the Notre Dame Turnout Study. Defendant MSA/Globe, when
contacted about the study and asked whether Globe planned to study this issue and find an
alternative to PFAS for turnouts, merely responded: “[P]rotecting (firefighters) is Globe’s
business; every piece of our turnout gear meets or exceeds applicable industry standards."96
        126.    Defendant Lion’s responses have been similar, and have also dismissed or
minimized the significance of the Notre Dame Turnout Study’s findings. Lion issued a Customer
Safety Alert for PFOA and Turnout Gear stating: “Your Lion turnout gear continues to be safe and
ready for action especially when properly maintained. It is extremely important that firefighters




95
  Andrew Wallender, Firefighters Face New Possible Risk From Toxic PFAS: Their Gear,
Bloomberg Law (June 23, 2020), https://news.bloomberglaw.com/pfas-project/firefighters-face-
new-possible-risk-from-toxic-pfas-their-gear.
96
  Blair Miller, Local Firefighters Concerned About Potentially Dangerous Chemicals on Gear,
Boston 25 News (February 26, 2019), https://www.boston25news.com/news/local-firefighters-
facing-concerns-over-potentially-dangerous-chemicals-on-gear/925236612/.


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continue to wear and properly care for their gear to stay safe on the job.”97
       127.    The Customer Safety Alert goes on to stress that Lion does not use PFOA or PFOS
(two long-chain PFAS chemicals) in its turnouts.98 It does not, however, address that Lion’s
turnouts in fact contain other PFAS chemicals, nor warn firefighters or the public about health
harms associated with exposure to these toxic, bio-accumulating chemicals.




       128.    As noted above, Defendant Lion’s paid consultant, Dr. Paul Chrostowski, also has
taken aim at the Notre Dame Turnout Study and its findings. Refuting a Fire Rescue magazine

article about the study,99 Chrostowski repeated Lion’s website statement that “PFOA was never
part of the gear itself and frequent independent testing has found only trace amounts of it in any
of the gear – not nearly enough to cause concern, and in amounts similar to consumer products.”100
Chrostowski went on to say “[t]he fact is that one may find trace amounts of ‘short-chain’ PFAS


97
     Lion Customer Safety Alert – PFOA and Turnout Gear (April 24, 2019),
https://cdn2.hubspot.net/hubfs/3475623/LION_PFOA_factsheet_042419.pdf.
98
   Id.
99
   Larissa Conroy, What If I Told You That Your Bunker Gear Was Causing Cancer?, Fire Rescue
(May 28, 2020), https://www.firefighternation.com/firerescue/what-if-i-told-you-that-your-
bunker-gear-was-causing-cancer/#gref.
100
    Paul Chrostowski, Ph.D., QEP, Research and Independent Testing Shows Firefighters’ Turnout
Gear       Remains     Safe     Despite     Claims,   Fire     Rescue     (June   3,     2020).
https://firerescuemagazine.firefighternation.com/2020/06/03/research-and-independent-testing-
shows-firefighters-turnout-gear-remains-safe-despite-claims/ - gref.


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such as PFBS and PFHxA in firefighting textiles, but the scientific research shows that these
materials are far less toxic than even PFOA and at the tiny trace levels the risk are extremely low
based on numerous credible published scientific research papers.”101 Finally, Chrostowski falsely
stated that the link between PFAS exposure and cancer is “extremely weak.”102




            129.   And yet, Lion has admitted publicly that dermal absorption is a pathway of
exposure to cancer-causing chemicals for firefighters. In Lion’s Not in Our House cancer
awareness fact sheet that currently appears on the company’s website, Lion warns firefighters:


101
      Id.
102
      Id.


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“For every 5 degree increase in temperature, skin becomes 400% more absorbent. The hotter you
are, the more carcinogens your skin absorbs.103 This statistic is alarming given that the core body
temperature of firefighters routinely increases during firefighting activities while wearing turnouts
which contain known carcinogens.104
           130.       Likewise, Defendant Honeywell has stated: “The skin on the neck is very thin and
prone to absorbing carcinogenic particulates.”105

           131.       Another recent Harvard study examining PFAS levels in fire stations dust found
that “dust in turnout gear locker areas and adjoining apparatus bays had significantly higher
fluorine concentrations compared to living rooms in fire stations,” as well as fluorine
concentrations typically found in in Class B foam and/or textiles as opposed to consumer
products.106




103
    Lion website,
https://cdn2.hubspot.net/hubfs/3475623/NOT%20IN%20OUR%20HOUSE%20Tip%20Sheet_In
fographic%20(02-02-19).pdf (last visited March 14, 2023).
104
    Nancy Espinoza, Can We Stand the Heat?, Journal of Emergency Medical Services, (April 30,
2008), https://www.jems.com/operations/can-we-stand-heat-study-reveal/; Gavin P. Horn, et al.,
Thermal Response to Firefighting Activities in Residential Structure Fires: Impact of Job
Assignment and Suppression Tactic, Ergonomics (July 31, 2017), https://tinyurl.com/4j2mz7f7.
105
    Ronnie Wendt, Innovations in Turnout Gear, Industrial Fire World (March 17, 2021),
https://www.industrialfireworld.com/598931/innovations-in-turnout-gear.
106
      Id. at fn. 6.



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       132.     For years, the IAFF has held a yearly cancer summit and until 2021, had done little
to address the PFAS in turnouts.107 Defendants, including at least DuPont, Gore, Lion and
MSA/Globe, have been regular sponsors of the IAFF Cancer Summit.
       133.    At this event, as well as in firefighter cancer-related publications, programs and
events, Defendants repeatedly used the summit as an opportunity to push the narrative that
incidence of cancer among firefighters is attributable either to other chemicals encountered in the
line of duty, or firefighters’ failure to wash their turnouts after every call. Not once have the
turnout Defendants admitted that the PFAS materials in their products has been found to be
carcinogenic, and that the very equipment that should be protecting firefighters are causing the
most harm. Further, Lion’s recently launched “Not in Our House” cancer awareness program is
sadly ironic in that it encourages firefighters themselves to make a pledge to protect themselves
from carcinogens linked to cancer (“I will make every effort to protect myself and my team by
doing my part to take precautions that will minimize the risk of exposure to carcinogens that may
lead to cancer…”) while all the while refusing to take any corporate responsibility for continually
exposing firefighters to carcinogens in their protective gear.108


107
    As alleged above, in para. 115 and fn. 83, IAFF has only recently begun to take action related
to PFAS exposure due to pressure from its firefighter members. At the IAFF Annual Meeting in
January 2021, two groundbreaking PFAS-related firefighter safety resolutions passed with the
support of 99% of the membership. The resolutions require IAFF to: (1) sponsor independent
testing of turnouts for PFAS and PFAS-related hazards, (2) oppose the use of PFAS and PFAS-
containing materials in turnouts, (3) require manufacturers to cease using PFAS in their
firefighting products (4) identify which manufacturers will not cease using PFAS, (5) issue an
advisory to fire departments to stop sending used or old turnouts to communities that are not able
to buy new gear and instead provide grants to purchase new gear, and (6) cease accepting financial
sponsorships from any PFAS/chemical-related companies unless it is to purchase PFAS-free
turnout gear. Andrew Wallender, PFAS Resolutions Overwhelmingly Approved by Firefighters’
Union, Bloomberg Law (February 1, 2021), https://news.bloomberglaw.com/daily-labor-
report/pfas-resolutions-overwhelmingly-approved-by-firefighters-union;        San       Francisco
Firefighters Cancer Prevention Foundation, (last visited March 14, 2023),
https://www.sffcpf.org/resolutions-to-protect-members-from-toxic-substances-in-ppe/.
108
    Rachel Zoch, Take A Pledge To Stop Cancer At the Door, Fire Rescue 1 (January 28, 2019),
https://www.firerescue1.com/fire-products/personal-protective-equipment-ppe/articles/take-a-
pledge-to-stop-cancer-at-the-door-e8bn7uAbtIXWdQau/.



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         134.   Plaintiff, as do all firefighters, deserves more. Firefighters are the first to respond
 to emergencies faced by their community, and never hesitate to help. Whether delivering a baby,
 responding to a fire, medical emergency, accident, mass shooting, terrorist attack, natural disaster,
 or teaching kids about fire safety, firefighters always put the community first. When a child is
 drowning in a pool or a family is caught in a burning house, they do not stop to calculate whether
 they will benefit by doing the right thing. They are true public servants. They step in and do what
 is needed when it is needed the most. Their health, safety and well-being must be of the highest

 priority.

          G. It Was Technologically and Economically Feasible for Defendants to Design
             Safer Firefighting Foams and Turnouts
         135.   Defendants have long known that safer, reasonable, alternative designs existed and
could be utilized.    These designs are and were not only technologically feasible, but also
economically. Indeed, given the enormous cost of remediation of the environment and litigation,
not to mention the cost of human lives, the safe, feasible alternatives would have cost significantly
less.
         136.   In the early 2000s, 3M, in conjunction with Solberg Scandinavian AS developed
Re-Healing Foam (“RF”), a high-performance, AFFF-comparable product that contained no
fluorochemicals, and resulted in two patents and three commercial products of PFAS-free
firefighting foam. RF met the standard of “ICAO [International Civil Aviation Organization]
Level B and matched AFFF in performance including a US MIL-Spec product.”109 In 2007,
Solberg bought 3M’s patent rights to RF and continued to market and sell RF. In 2011, Defendant
Amerex acquired Solberg and continued to manufacture, market and sell RF. In 2014, the EPA


109
    Fluorine Free Firefighting Foams (3F) – Viable Alternatives to Fluorinated Aqueous Film-
Forming        Foams        (AFFF),        IPEN      Expert     Panel   (September    2018),
https://ipen.org/sites/default/files/documents/IPEN_F3_Position_Paper_POPRC-
14_12September2018d.pdf; Schaefer, Ted. H. et al., New Foam Technology, New Found Benefits,
Solberg,     IAFPA       Sydney       2005    Conference    Proceedings (Oct.   5-7,  2005),
https://www.solbergfoam.com/getattachment/c5bef149-b850-48df-81a8-19b977c6daed/New-
Foam-Technology,-New-Found-Results.aspx;



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presented Solberg with the Presidential Green Chemistry Challenge Award for its fluorine-free
foams; the award recognizes technologies that prevent pollution and match or improve the
performance of existing products.110 In 2018, Defendant Perimeter Solutions in 2018 acquired
Solberg and continued to manufacture, market and sell RF.
          137.     Also, beginning in the early 2000s, BIOEX launched a highly effective, fluorine-
free Class B F3 foam which has been approved and used by international airports, fire departments,
oil and gas companies, the marine industry and pharmaceutical and chemical companies around
the world.111
          138.     However, lobbyists and companies invested in maintaining profits on fluorinated
Class B foam not only continued to represent that PFAS-containing foam was safe, but also
intentionally maligned the fluorine free foams, falsely asserting that these foams were less
effective and more expensive.112 As noted by IPEN:

          Over the years since the serious introduction on the market of Class B fluorine-free F3
          foams suitable for hydrocarbon and polar solvent fires: there have been many attempts by
          the fluorochemical side of the industry and their lobbyist trade associations to undermine
          and downplay the operational performance of Class B fluorine-free foams whilst
          minimizing the environmental issues associated with fluorinated products. This has
          included publishing in the technical trade literature spurious performance tests carried out
          by non-independent or certified bodies funded by competitors to F3 producing companies,
          as well as continually perpetrating unsupported myths. It is these myths in particular that
          must be controverted for what they are: marketing hype, misrepresentation of test


110
    Marc S. Reisch, What Is the Price of Fire Safety? As Lawsuits Pile Up and Government
Pressure Rises, Firefighting-Foam Makers Reconsider the Environmental Cost of
Fluorosurfactants,      Chemical      &     Engineering       News      (January 14, 2019),
https://cen.acs.org/business/specialty-chemicals/price-fire-safety/97/i2.
111
    Fluorine Free Firefighting Foam (FFF) – Firefighting Foam Concentrates, BIOEX website
(last visited March 14, 2023), https://www.bio-ex.com/en/our-products/compositions/fluorine-
free-foam/; “Major Airports, Fire brigades, Marine, Oil & Gas companies and Chemical
industries across the world are using BIOEX Fluorine-Free Foam for their fire protection.
[fluorine-free] foams.” Fluorine Free Firefighting Foams (3F) – Viable Alternatives to
Fluorinated Aqueous Film-Forming Foams (AFFF), IPEN Expert Panel, pg. 48 (September 2018),
https://ipen.org/sites/default/files/documents/IPEN_F3_Position_Paper_POPRC-
14_12September2018d.pdf
112
      Id. at 19.



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          conditions, frank untruths or only partial truths, criticism of a competitor’s product, and an
          exhibition of vested interests.113

          139.     In 2011, the Fire Fighting Foam Coalition, which includes Defendants Tyco,
DuPont, and Buckeye, misrepresented a U.S. Navy report comparing Solberg’s fluorine-free RF
with National Foam’s 6-Em AFFF and Defendant Buckeye’s FC-3MS AFFF, asserting Solberg’s
RF was less effective. In fact, though Solberg’s RF was not made per military specifications as it
did not include fluorine, the U.S. Navy Report found:


          For iso-octane, the non-fluorinated foam had shorter extinguishment times than the two
          AFFFs and was the only foam to achieve an extinguishment time under 30 seconds….The
          non-fluorinated foam had substantially better performance on iso-octane than on any of the
          other fuels.
          Conclusions: For the AFFF foams which were intended to work via formation of an
          aqueous film, fire extinction times were lengthened considerably in cases where film
          formation was made difficult by the low surface tension of the fuel. For the non-filming
          fluorine-free foam, however, no such performance decrement was observed, and the fire
          extinction times on the lowest surface tension fuel were lower than for fuels with higher
          surface tensions, and within the 30 second time limit specified (on gasoline) by MIL-F-
          24385F.114 (emphasis added)

          140.     Further, the study found that AFFF foams had 25% drain times (between 4-6
minutes) whereas the fluorine-free RF’s drain time was 12 minutes. This slower drain time leads
to greater burn back resistance and greater safety for firefighters.
          141.     The technology to develop safer, effective and economical fluorine-free Class B
foam is and has been available for, at least, over 20 years. In fact, many firefighting foam
manufacturers and distributors companies manufacture, market and/or sell fluorine-free
firefighting foams, including National Foam and Defendants Tyco, Perimeter Solutions,
Chemguard, and Johnson Controls.



113
      Id. at 21.
114
    Solberg Foam website, Re-Healing Foam Fire Performance, Technical Bulletin, #1009, (last
visited December 13, 2021), https://www.solbergfoam.com/getattachment/f8574423-9518-4888-
a054-c170c0d9a234/RE-HEALING-Foam-Fire-Performance.aspx.



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        142.   EUROFEU, an umbrella organization representing fire protection trade
associations and companies including Defendant Tyco, even stated in 2019: “We believe that F3s
[fluorine-free foams] are very suitable for a growing number of applications such as municipal
firefighting, training, some testing and as foam agents in first responding fire trucks.”115
        143.   LAST FIRE, a consortium of international oil companies developing best industry
practice in storage tank Fire Hazard Management including Shell Oil, Chevron, BP, Exxon and
Defendant Perimeter Solutions, concluded after conducting 200 tests that: “Fluorine free foams
can provide equivalent performance to C6 foams [AFFF] and provide appropriate performance for
hydrocarbon [fires].”116
        144.   Safe fluorine-free turnout gear was and is also technologically and economically
feasible.
        145.   Fire-Dex manufactures, markets and sells an entire line of PFAS-free turnouts, as
well non-fluorinated fabrics from Safety Components with a PFAS-free water-repellent.117 “Made
with the same fabric as our traditional TECGEN71 outer shell, this material is designed to reduce
heat stress while offering the same performance levels in TPP, breathability, and overall reduction
of composite weight.”118 Further, because of the increased breathability and thermal protection,
the PFAS-free gear is the only outer shell that can currently be paired with the lightest and thinnest




115
    The Use of PFAS and Fluorine-Free Alternatives in Fire-Fighting Foams, European
Commission DG Environment and European Chemicals Agency (ECHA), Final Report, June
2020,       p.       273,       https://echa.europa.eu/documents/10162/28801697/pfas_flourine-
free_alternatives_fire_fighting_en.pdf/d5b24e2a-d027-0168-cdd8-f723c675fa98
116
    Id. at pp. 314-315. Hydrocarbon fires are flammable gas or liquid fires that may involve gas,
oil, kerosene, ethanol, propane, acetylene, hydrogen, and methane, to name a few.
117
    Fire-Dex Launches Non-Fluorinated PPE Fabrics, Firehouse.com (February 17, 2021),
https://www.firehouse.com/safety-health/ppe/turnout-gear/press-release/21210722/firedex-
firedex-launches-nonfluorinated-ppe-fabrics.
118
       Alternative   PPE,    Fire-Dex    website,   (last     visited        March     14,     2023),
https://www.firedex.com/catalog/tecgen51-fatigues/#materials.



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thermal liners and moisture barriers.119 This, according to Fire-Dex, significantly reduces heat
stress and cardiac failure for firefighters while also reducing the risk of cancer and other diseases
by eliminating PFAS exposure though turnout gear.
          146.     Defendants MSA/Globe, Honeywell, Tencate, and Gore have developed,
manufactured, marketed and/or sold PFAS-free waterproofing technology, PFAS-free outer shells
in turnout gear and/or durable PFAS-free fabrics.120
          147.     Defendant Honeywell even admitted that these PFAS-free alternatives are safe,
feasible and economical: “Any minor tradeoffs with PFAS-free fabrics are outweighed by worker
safety. And the protection level is unchanged. PFAS-free gear offers the same thermal protection
and moves the same way. The color fastness and wear remain the same.”121
          148.     While the technology to develop fluorine-free turnout gear has been available for
years, the NFPA turnouts standards-setting technical committee continues to adhere to certain
guidelines for turnout gear which require PFAS – knowingly putting firefighters at risk for
exposure to PFAS. This committee is comprised of industry consultants, textile and gear
manufacturers, including Defendants MSA/Globe, Lion, Tyco, and Honeywell.122



119
      TecGen71 Outer Shell, Fire-Dex               website,   (last   visited   March   14,   2023),
https://www.firedex.com/tecgen71/.
120
    FreeFAS Durable Water Repellent (DWR) Coating, MSA/Globe website (last visited March
14,                                                                                     2023),
https://us.msasafety.com/s?content_index_en_us%5Bquery%5D=freefas&product_index_us_en
%5Bconfigure%5D%5BhitsPerPage%5D=20#pages; Id. at fn. 105, Wendt, Innovations in
Turnout        Gear,       Industrial    Fire      World        (March       17,        2021),
https://www.industrialfireworld.com/598931/innovations-in-turnout-gear; WL Gore to Release
PFAS-free Waterproof Material for Apparel, Chemical Watch (October 4, 2021),
https://chemicalwatch.com/346695/wl-gore-to-release-pfas-free-waterproof-material-for-apparel.
121
      Id. at fn. 106.
122
     NFPA 1971/1851 Technical Committee Meeting Minutes (March 31, 2020),
https://www.nfpa.org/assets/files/AboutTheCodes/1971/1971_F2022_FAE_SPF_Pre-
FD_MeetingMinutes_3_20.pdf; NFPA 1971/1851 Technical Committee Meeting Minutes
(January 11-12, 2012),         https://www.nfpa.org/assets/files/aboutthecodes/1851/fae-spf_pre-
rocmeetingminutes_01-12%20(2).pdf



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        149.    The economic and technological feasibility of fluorine-free foams and turnout gear
is well-established, and based on technology that has been available for years. The alternative
designs detailed above are far safer for firefighters and eliminate the serious health risks that result
from PFAS exposure.
        150.    The only barrier to producing safer alternatives to PFAS-containing foams and
turnout gear has been Defendants’ opposition. Their continued manufacturing, marketing, selling
and/or distributing PFAS-containing foams and turnout gear has exposed firefighters to toxic
PFAS chemicals. These defective designs are and/or have been a substantial factor in causing
Plaintiff’s injuries.
        151.    Based on all of the foregoing, Plaintiff brings this action for damages and for other
appropriate relief sufficient to compensate him for the significant harm Defendants’ PFAS
chemicals and PFAS-containing products have caused.
         EQUITABLE TOLLING OF APPLICABLE STATUE OF LIMITATIONS
        152.    Plaintiff incorporates by reference all prior paragraphs of this complaint as though
fully set forth herein.


        A. To the Extent Applicable, the Statute of Limitations Should Be Equitably Tolled
           Due to Defendants’ Fraudulent Concealment and Misrepresentations
        153.    Defendants had control over, and superior, if not exclusive, knowledge of the
hazardous toxicity, persistence and bioaccumulation of PFAS and PFAS-containing materials for
decades.
        154.    Since at least the 1960s, and as late as the early 1990s, Defendants have known, or
should have known, of the hazardous toxicity, persistence and bioaccumulation of PFAS and
PFAS-containing materials, including Class B foam and/or turnouts, when internal study after
internal study showed not only unacceptable levels of toxicity and bioaccumulation in human
blood, but links to increased incidence of liver damage, tumors, cancer and birth defects. Such
information was material to Plaintiff at all relevant times
        155.    Nonetheless, as detailed above, Defendants intentionally concealed these materials



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facts and findings from their own internal research from firefighters, including Plaintiff, fire
departments, fire service media, fire organizations, the EPA and the public.
        156.    Defendants have also continuously misrepresented the safety of PFAS and PFAS-
containing materials for over fifty years to firefighters, including Plaintiff, fire departments, fire
service media, fire organizations, the EPA and the public. Indeed, to this day, Defendants continue
to assert in their public statements, on their websites, and on the product warning labels and
material safety data sheets statements that their PFAS-containing products, including Class B foam
and turnouts, are safe and non-toxic.
        157.    When concerns have been raised in the scientific and fire service communities
about the safety of PFAS and PFAS-containing turnouts and/or Class B foam, Defendants have
uniformly dismissed these concerns as scientifically unfounded and maintained that PFAS and
protective equipment containing PFAS are safe and non-toxic.
        158.    In the face of challenges from the fire service communities as to the safety of PFAS-
containing protective equipment, Defendants have repeatedly asserted that because the protective
equipment meets the NFPA technical standards, there is no basis to challenge the safety of the
turnouts and/ or Class B foam. The Defendants, however, did not also disclose that they have
actively participated in establishing the NFPA technical standards and withheld material
information from the NFPA when those standards were set.
        159.    Defendants knowingly, actively, and affirmatively concealed the facts alleged
herein and misrepresented the safety of PFAS or PFAS-containing turnouts and/or Class B foam
to firefighters, including Plaintiff.
        160.    Plaintiff reasonably relied upon, and was deceived by Defendants’ representations
that their PFAS or PFAS-containing turnouts and/or Class B foam were safe and non-toxic.
Plaintiff was unaware that the Class B foam and/or turnouts contained toxic PFAS chemicals.
        161.    For these reasons, any and all applicable statutes of limitations have been tolled as
a consequence Defendants’ ongoing knowledge, active fraudulent concealment, and
misrepresentation of material facts alleged herein.



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       B. Defendants Should Be Estopped From Using Statute of Limitations as an
          Affirmative Defense Due to Their Fraudulent Concealment and
          Misrepresentations
       162.    To the extent that Plaintiff did know sufficient facts to file a cause of action against
Defendants during any applicable statute of limitations period, Defendants should be estopped
from invoking the statute of limitations as an affirmative defense as they have continually,
intentionally and knowingly fraudulently concealed and misrepresented material facts about the
hazardous toxicity, persistence and bioaccumulation of PFAS and PFAS-containing materials,
including Class B foam and/or turnouts, which caused certain Plaintiffs to delay in filing a claim
against Defendants.
       163.    Defendants had control over, and superior, if not exclusive, knowledge of the
hazardous toxicity, persistence and bioaccumulation of PFAS and PFAS-containing materials for
decades, and they fraudulently and intentionally concealed these facts from Firefighter Plaintiffs
for over 50 years. To this day, they actively and falsely maintain that PFAS and PFAS-containing
products are not toxic, persistent and/or bioaccumulative.
       164.    Defendants have repeatedly and falsely represented to firefighters, including
Plaintiff, that any increase in cancer rate among firefighters is from exposure to other chemicals
during fires - not from exposure to PFAS or PFAS-containing materials found in turnouts and/or
Class B foam that firefighters use daily.
       165.    While Defendants also repeatedly advised firefighters, including Plaintiff, fire
departments, the fire service media and fire organizations that the best solution for reducing cancer
incidence was to decontaminate firefighters’ turnout gear with industrial-grade washing machines
after responding to a fire and/or using Class B foam, Defendants knowingly and intentionally
concealed from certain Plaintiff and fire departments that repeated washing of turnout gear would
cause the turnouts to degrade more quickly, causing increased exposure to toxic-PFAS through
inhalation, ingestion and/or dermal exposure.
       166.    When concerns have been raised in the scientific and fire service communities



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about the safety of PFAS and PFAS-containing turnouts and/or Class B foam, Defendants have
uniformly dismissed these concerns as scientifically unfounded and maintained that PFAS and
protective equipment containing PFAS are safe and non-toxic.
       167.    In the face of challenges from the fire service communities as to the safety of PFAS-
containing protective equipment, Defendants have repeatedly asserted that because the protective
equipment meets the NFPA technical standards, there is no basis to challenge the safety of the
turnouts and/ or Class B foam. The Defendants, however, did not also disclose that they have
actively participated in establishing the NFPA technical standards and withheld material
information from the NFPA when those standards were set.
       168.    As Defendants had control over and superior knowledge of the serious risks of
PFAS, Plaintiff reasonably relied upon Defendants’ knowing and affirmative misrepresentations,
and/or active concealment, of material facts regarding the hazardous toxicity, persistence and
bioaccumulation of PFAS and PFAS-containing materials, including Class B foam and/or
turnouts, which caused Plaintiff to delay in filing a claim against Defendants.
       169.    Based on the foregoing, Defendants are estopped from relying on any and all
applicable statutes of limitations in defense of this action.
       C. To the Extent Applicable, the Statute of Limitations Should Be Tolled
       170.    For over fifty years and to this day, Defendants have fraudulently concealed and
actively misrepresented the hazardous toxicity, persistence, and bioaccumulation associated with
the use of PFAS or PFAS-containing materials in Class B foam and/or turnouts to firefighters,
including Plaintiff, fire departments, the fire service media and fire organizations in an effort to
mask the very serious health and environmental consequences of exposure to PFAS.
       171.    Because of Defendants’ active and ongoing concealment of the true nature of the
hazardous toxicity, persistence, and bioaccumulation associated with the use of PFAS or PFAS-
containing materials in Class B foam and/or turnouts, and their prior knowledge of it, Plaintiff
could not have reasonably discovered the causes of action alleged herein.
       172.    Further, it was nearly impossible for Plaintiff to determine whether he had PFAS



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in his blood and a basis for a claim against Defendants. Obtaining a PFAS analysis of a blood
sample is not readily available to the public, nor is it a test that a medical doctor or regular hospital
lab can order much less analyze.
        173.    In addition to the obstacles of getting PFAS blood serum levels tested, Plaintiff had
no realistic ability to discern or suspect that the hazardous toxicity, persistence, and
bioaccumulation associated with the use of PFAS or PFAS-containing materials in Class B foam
and/or turnouts were a substantial cause of his injuries.
        174.    The causes of action alleged herein thus did not accrue until Plaintiff discovered
the hazardous toxicity, persistence, and bioaccumulation associated with the use of PFAS or
PFAS-containing materials in Class B foam and/or turnouts.
        175.    Accordingly, Defendants are precluded by the Discovery Rule, CPLR § 214-c, from
relying upon any and all applicable statutes of limitations.


                                   FIRST CAUSE OF ACTION
                           STRICT LIABILITY - DESIGN DEFECT
        176.    This cause of action is asserted against all Defendants on behalf of Plaintiff.
        177.    Plaintiff incorporates by reference all prior paragraphs of this complaint, as though
fully set forth herein.
        178.    Each Defendant, their predecessors-in-interest, and/or their alter egos, and/or
entities they have acquired, have engaged in the business of manufacturing, designing, selling,
distributing, supplying, testing, inspecting, labeling, promoting, and/or advertising of turnouts
and/or Class B foam and through that conduct have knowingly placed PFAS-containing products
into the stream of commerce with full knowledge that they were sold to fire departments, or to
companies that sold turnouts and/or Class B foam to fire departments for use by firefighters, such
as Plaintiff, who are and/or were exposed to PFAS through ordinary and foreseeable uses for the
purpose of firefighting activities and training.
        179.    Defendants intended that the PFAS chemicals and/or PFAS-containing turnouts



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and/or Class B foam that they are and/or were manufacturing, designing, selling, distributing,
supplying, testing, inspecting, labeling, promoting, and/or advertising would be used by
firefighters, including Plaintiff, without any substantial change in the condition of the products
from when it was initially manufactured, sold, distributed, and marketed by Defendants.
       180.    Turnouts and/or Class B foam are and/or were defective and unreasonably
dangerous because they contain toxic PFAS chemicals which, as detailed above, are highly mobile,
persistent known carcinogens and immune system disruptors that pose a substantial likelihood of
harm to firefighters even when used as directed by the manufacturer for its intended purpose of
firefighting activities, including training, extinguishment, ventilation, search-and-rescue, salvage,
containment, and overhaul.
       181.    PFAS and/or PFAS-containing turnouts and/or Class B foam designed,
manufactured, marketed, tested, inspected, labeled, advertised, promoted, sold and/or distributed
by the Defendants are and/or were unreasonably dangerous and defective in design or formulation
because, at the time in which the products left the hands of the manufacturer or distributors, the
utility and benefit of these products did not outweigh the risks inherent in the design or formulation
of the PFAS-containing turnouts and/or Class B foam.
       182.    Firefighters wear their turnouts on every shift and use Class B foam regularly in
training and firefighting activities. Defendants have known for decades that exposure to PFAS or
PFAS-containing materials is toxic to humans and animals, and results in significant – often
catastrophic – health effects, including cancer and birth defects. This risk is heightened for people
with consistent exposure to these chemicals which have a long half-life and impact the body on a
cellular level. The risk of such serious health effects is and/or was not outweighed by the utility
and benefit of PFAS or PFAS-containing, particularly in light of the availability of PFAS-free
turnout gear and firefighting foam.
       183.    The turnouts and/or Class B foam designed, manufactured, marketed, tested,
inspected, labeled, advertised, promoted, sold, and/or distributed by the Defendants were
dangerous and defective in design or formulation because, when the PFAS-containing products



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left the hands of the manufacturer or distributors, these products posed significant health risks and
were unreasonably dangerous in normal use.
       184.    Further, knowing of the dangerous and hazardous properties of PFAS and/or PFAS-
containing turnouts and/or Class B foam, Defendants could have manufactured, marketed,
distributed, and/or sold alternative designs or formulations of fluorine-free chemicals, fluorine-
free turnouts and/or Class B foam.
       185.    These alternative designs and/or formulations were already practical, similar in
cost, technologically feasible and/or available.
       186.    Indeed, in the 1990s, DuPont had a viable replacement for PFOA that was less
toxic, less-bio-accumulative, but chose not pursue it. In the 2000s, multiple companies developed
safer, effective fluorine-free foams. PFAS-free turnout gear is also available and feasible, and
would be more widely available if its development, manufacture and sale were not hindered by
Defendants’ actions and misrepresentations.
       187.    The use of these alternative designs would have reduced or prevented the
substantial likelihood of harm to Plaintiff that was caused by the Defendants’ design, manufacture,
testing, inspecting, labeling, marketing, advertising, promotion, sale and/or distribution of PFAS
and/or PFAS-containing turnouts and/or Class B foam.
       188.    Additionally, the turnouts and/or Class B foam that were designed, manufactured,
marketed, tested, inspected, labeled, advertised, marketed, promoted, sold, and/or distributed by
the Defendants contained PFAS or PFAS-containing materials that were so toxic and unreasonably
dangerous to human health and the environment, with the toxic chemicals being highly mobile and
persistent, that the act of designing, formulating, manufacturing, testing, labeling, marketing,
distributing, and/or selling these products was unreasonably dangerous and the foreseeable risks
of causing serious health consequences exceeded the benefits associated with the design or
formulation of PFAS-containing turnouts and/or Class B foam.
       189.    Defendants’ design of toxic PFAS chemicals and/or PFAS-containing turnout gear
and/or Class B foam was unreasonably dangerous and substantial factor in causing Plaintiff’s



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injuries.
        190.    As a result of Defendants' defective design, Defendants are strictly liable in
damages to Plaintiff.
        191.    Defendants acted with willful or conscious disregard for the rights, health, and
safety of Plaintiff, as described herein, thereby entitling Plaintiff to an award of punitive damages.


                                  SECOND CAUSE OF ACTION

                          STRICT LIABILITY – FAILURE TO WARN
        192.    This cause of action is asserted against all Defendants on behalf of Plaintiff.
        193.    Plaintiff incorporates by reference all prior paragraphs of this complaint, as though
fully set forth herein.
        194.    Each Defendant, their predecessors-in-interest, and/or their alter egos, and/or
entities they have acquired, have engaged in the business of manufacturing, distributing,
supplying, testing, labeling, promoting, or advertising of turnouts and/or Class B foam containing
PFAS or PFAS-containing materials and, through that conduct, have knowingly placed PFAS-
containing products into the stream of commerce with full knowledge that they were sold to fire
departments and/or to companies that sold turnouts and/or Class B foam to fire departments for
use by firefighters, such as Plaintiff.
        195.    Defendants’ turnouts and/or Class B foam containing PFAS or PFAS-containing
materials were unreasonably dangerous for their reasonably anticipated use because exposure to
PFAS poses a significant threat to human health.
        196.    Defendants knew or should have reasonably known that the manner in which they
were designing, manufacturing, testing, inspecting, labeling, marketing, distributing, and/or selling
turnouts and/or Class B foam containing PFAS was hazardous to human health, and that
firefighters, like Plaintiff, would be exposed to PFAS through ordinary and foreseeable uses of
turnouts and/or Class B foam in the course of engaging in firefighting activities and training.
        197.    Defendants had a duty to warn against such latent dangers resulting from



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foreseeable uses of its product of which it knew or should have known.
       198.    At the time of manufacture, distribution, promotion, labeling, distribution, and/or
sale, Defendants could have provided warnings or instructions regarding the full and complete
risks of turnouts and/or Class B foam containing PFAS or PFAS-containing materials.
       199.    Defendants, however, breached their duty and failed to provide adequate warnings
as to the potential harm that might result from exposure to PFAS or PFAS-containing products
that would lead an ordinary reasonable user, such as Plaintiff, to contemplate the danger to human
health posed by such products.
       200.    In fact, Defendants failed to issue any warnings, instructions, recalls and/or advice
as to the danger of exposure to the toxic PFAS-containing turnouts and/or Class B foam, and the
potential for such exposure to cause serious physical injury and disease.
       201.    Defendants also did not instruct Plaintiff on the proper steps he could take to reduce
the harmful effects of previous exposure, the need to have periodic medical examinations including
the giving of histories which revealed the details of the previous exposure, and the need to have
immediate and vigorous medical treatment for all related adverse health effects.
       202.    Plaintiff did not and could not have known that the use of turnouts and/or Class B
foam in the ordinary course of performing his duties as a firefighter could be hazardous to his
health, bioaccumulate in the blood, and cause serious health effects, including cancer. Had
Defendants adequately warned Plaintiff, he would have heeded such warnings.
       203.    The burden on Defendants to guard against this foreseeable harm to Plaintiff was
minimal, and merely required that they provide adequate instructions, proper labeling, and
sufficient warnings about their PFAS-containing products.
       204.    Defendants were in the best position to provide adequate instructions, proper
labeling, and sufficient warnings about the PFAS-containing, turnouts and/or Class B foam and to
take steps to eliminate, correct, or remedy any exposure or contamination they caused.
       205.    As a direct and proximate result of Defendants' failure to provide adequate and
sufficient warnings, Plaintiff suffered the injuries and damages described herein for which



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Defendants are strictly liable.
        206.    Defendants acted with willful or conscious disregard for the rights, health, and
safety of Plaintiff, as described herein, thereby entitling Plaintiff to an award of punitive damages.


                                   THIRD CAUSE OF ACTION
                              NEGLIGENCE – DESIGN DEFECT
        207.    This cause of action is asserted against all Defendants on behalf of Plaintiff.
        208.    Plaintiff incorporates by reference all prior paragraphs of this complaint as though
fully set forth herein.
        209.    Each Defendant, their predecessors-in-interest, and/or their alter egos, and/or
entities they have acquired, have engaged in the business of manufacturing, designing, selling,
distributing, supplying, testing, labeling, promoting, and/or advertising of turnouts and/or Class B
foam and through that conduct have knowingly placed PFAS-containing products into the stream
of commerce with full knowledge that they were sold to fire departments, or to companies that
sold turnouts and/or Class B foam to fire departments for use by firefighters such as Plaintiff.
        210.    Defendants intended that the PFAS chemicals and/or PFAS-containing turnouts
and/or Class B foam that they are and/or were manufacturing, designing, selling, distributing,
supplying, testing, labeling, promoting, and/or advertising would be used by firefighters, including
Plaintiff, without any substantial change in the condition of the products from when they were
initially manufactured, sold, distributed, and/or marketed by Defendants.
        211.    Defendants also knew or should have known that Plaintiff would be exposed to
PFAS through ordinary and foreseeable uses of these products for the purpose of firefighting
activities and training.
        212.    Defendants had a duty to not endanger the health and safety of Plaintiff who was a
foreseeable user of the PFAS-containing turnouts and/or Class B foam that Defendants are and/or
were manufacturing, designing, selling, distributing, supplying, testing, labeling, promoting,
and/or advertising as firefighter protective safety equipment.



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       213.    Defendants’ duty required that they exercise reasonable care in the manufacturing,
designing, selling, distributing, supplying, testing, labeling, promoting, and/or advertising of
turnouts and/or Class B foam.
       214.    Defendants breached their duty of reasonable care by negligently manufacturing,
designing, selling, distributing, supplying, testing, inspecting, labeling, promoting, and/or
advertising of PFAS-containing turnouts and/or Class B foam which were defective and
unreasonably dangerous. The turnouts and/or Class B foam contained toxic PFAS chemicals
which, as detailed above, are highly mobile, persistent known carcinogens, and immune system
disruptors that pose a substantial likelihood of harm to firefighters even when used as directed by
the manufacturer for its intended purpose of firefighting activities.
       215.    PFAS and/or PFAS-containing turnouts and/or Class B foam designed,
manufactured, marketed, tested, advertised, promoted, sold and distributed by the Defendants are
and/or were unreasonably dangerous and defective in design or formulation because, at the time
in which the products left the hands of the manufacturer or distributors, the utility and benefit of
these products did not outweigh the risks inherent in the design or formulation of the PFAS-
containing turnouts and/or Class B foam.
       216.    Firefighters wear their turnouts on every shift and use Class B foam regularly in
training and firefighting activities. Defendants have known for decades that exposure to PFAS or
PFAS-containing materials is toxic to humans and animals, and results in significant – often
catastrophic – health effects, including cancer and birth defects. This risk is heightened for people,
like Plaintiff, with consistent exposure to these chemicals which have a long half-life and impact
the body on a cellular level. The risk of such serious health effects is and/or was not outweighed
by the utility and benefit of PFAS or PFAS-containing, particularly in light of the availability of
PFAS-free turnout gear and firefighting foam.
       217.    The turnouts and/or Class B foam designed, manufactured, marketed, tested,
inspected, labeled, advertised, promoted, sold, and/or distributed by the Defendants were
dangerous and defective in design or formulation because, when the PFAS-containing products



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left the hands of the manufacturer or distributors, these products posed significant health risks and
were unreasonably dangerous in normal use.
       218.    Further, knowing of the dangerous and hazardous properties of PFAS and/or PFAS-
containing turnouts and/or Class B foam, Defendants could have manufactured, marketed,
distributed, and/or sold alternative designs or formulations of fluorine-free chemicals, fluorine-
free turnouts and/or Class B foam.
       219.    These alternative designs and/or formulations were already practical, similar in
cost, technologically feasible and/or available.
       220.    Indeed, in the 1990s, DuPont had a viable replacement for PFOA that was less
toxic, less-bio-accumulative, but chose not pursue it. In the 2000s, multiple companies developed
safer, effective fluorine-free foams. PFAS-free turnout gear is also available and feasible, and
would be more widely available if its development, manufacture and sale were not hindered by
Defendants’ actions and misrepresentations.
       221.    The use of these alternative designs would have reduced or prevented the
substantial likelihood of harm to Plaintiff that was caused by the Defendants’ design, manufacture,
marketing, advertising, promotion, sale and/or distribution of PFAS and/or PFAS-containing
turnouts and/or Class B foam.
       222.    Additionally, the turnouts and/or Class B foam that were designed, manufactured,
marketed, tested, inspected, labeled, advertised, marketed, promoted, sold, and/or distributed by
the Defendants contained PFAS or PFAS-containing materials that were so toxic and unreasonably
dangerous to human health and the environment, with the toxic chemicals being highly mobile and
persistent, that the act of designing, formulating, manufacturing, marketing, distributing, and/or
selling these products was unreasonably dangerous and the foreseeable risks of causing serious
health consequences exceeded the benefits associated with the design or formulation of PFAS-
containing turnouts and/or Class B foam.
       223.    Defendants’ design of toxic PFAS chemicals and/or PFAS-containing turnout gear
and/or Class B foam was unreasonably dangerous and substantial factor in causing Plaintiff’s



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injuries.
        224.    As a result of Defendants' defective design, Defendants are liable for such injuries
and damages to Plaintiff.
        225.    Defendants acted with willful or conscious disregard for the rights, health, and
safety of Plaintiff, as described herein, thereby entitling Plaintiff to an award of punitive damages.
                                 FOURTH CAUSE OF ACTION
                             NEGLIGENCE – FAILURE TO WARN
        226.    This cause of action is asserted against all Defendants on behalf of Plaintiff.
        227.    Plaintiff incorporates by reference all prior paragraphs of this complaint as though
fully set forth herein.
        228.    Each Defendant, their predecessors-in-interest, and/or their alter egos, and/or
entities they have acquired, have engaged in the business of manufacturing, distributing,
supplying, testing, labeling, promoting, or advertising of turnouts and/or Class B foam containing
PFAS or PFAS-containing materials and, through that conduct, have knowingly placed PFAS-
containing products into the stream of commerce with full knowledge that they were sold to fire
departments and/or to companies that sold turnouts and/or Class B foam to fire departments for
use by firefighters, such as Plaintiff.
        229.    Each Defendant, their predecessors-in-interest, and/or their alter egos, and/or
entities they have acquired, have engaged in the business of manufacturing, distributing,
supplying, testing, labeling, promoting, or advertising of turnouts and/or Class B foam containing
PFAS or PFAS-containing materials and, through that conduct, have knowingly placed PFAS-
containing products into the stream of commerce with full knowledge that they were sold to fire
departments and/or to companies that sold turnouts and/or Class B foam to fire departments for
use by firefighters, such as Plaintiff.
        230.    Defendants’ turnouts and/or Class B foam containing PFAS or PFAS-containing
materials were unreasonably dangerous for their reasonably anticipated use because exposure to
PFAS poses a significant threat to human health.



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       231.    Defendants knew or should have reasonably known that the manner in which they
were designing, manufacturing, testing, inspecting, labeling, marketing, distributing, and/or selling
turnouts and/or Class B foam containing PFAS was hazardous to human health, and that
firefighters, like Plaintiff, would be exposed to PFAS through ordinary and foreseeable uses of
turnouts and/or Class B foam in the course of engaging in firefighting activities and training.
       232.    Defendants had a duty to warn against such latent dangers resulting from
foreseeable uses of its product of which it knew or should have known.
       233.    At the time of manufacture, distribution, promotion, labeling, distribution, and/or
sale, Defendants could have provided warnings or instructions regarding the full and complete
risks of turnouts and/or Class B foam containing PFAS or PFAS-containing materials.
       234.    Defendants, however, breached their duty and failed to provide adequate warnings
as to the potential harm that might result from exposure to PFAS or PFAS-containing products
that would lead an ordinary reasonable user, such as Plaintiff, to contemplate the danger to human
health posed by such products.
       235.    In fact, Defendants failed to issue any warnings, instructions, recalls and/or advice
as to the danger of exposure to the toxic PFAS-containing turnouts and/or Class B foam, and the
potential for such exposure to cause serious physical injury and disease.
       236.    Defendants also did not instruct Plaintiff on the proper steps he could take to reduce
the harmful effects of previous exposure, the need to have periodic medical examinations including
the giving of histories which revealed the details of the previous exposure, and the need to have
immediate and vigorous medical treatment for all related adverse health effects.
       237.    Plaintiff did not and could not have known that the use of turnouts and/or Class B
foam in the ordinary course of performing his duties as a firefighter could be hazardous to his
health, bioaccumulate in the blood, and cause serious health effects, including cancer - dangers
which were not obvious to Plaintiff. Had Defendants adequately warned Plaintiff, they would
have heeded such warnings.
       238.    The burden on Defendants to guard against this foreseeable harm to Plaintiff was



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minimal, and merely required that they provide adequate instructions, proper labeling, and
sufficient warnings about their PFAS-containing products.
       239.    Defendants were in the best position to provide adequate instructions, proper
labeling, and sufficient warnings about the PFAS-containing, turnouts and/or Class B foam and to
take steps to eliminate, correct, or remedy any exposure or contamination they caused.
       240.    As a direct and proximate result of Defendants' negligent failure to provide
adequate and sufficient warnings, Plaintiff suffered the injuries and damages described herein for
which Defendants are strictly liable.
       241.    Defendants acted with willful or conscious disregard for the rights, health, and
safety of Plaintiff, as described herein, thereby entitling Plaintiff to an award of punitive damages.


                                     PRAYER FOR RELIEF
       WHEREFORE, Plaintiff respectfully prays that this Court grant the following relief:
      (1)      Compensatory damages, including but not limited to, pain, suffering, emotional
               distress, loss of enjoyment of life, and other non-economic damages in an amount
               according to proof at time of trial;
      (2)      Compensatory damages for future damages, including but not limited to Plaintiff’s
               pain and suffering and for severe permanent personal injuries sustained by the
               Plaintiff, including for future health care costs, medical monitoring, and/or
               economic loss.
      (3)      Economic damages including but not limited to medical expenses, out of pocket
               expenses, lost earnings and other economic damages in an amount to be determined
               at trial;
      (4)      Punitive and/or exemplary damages for the wanton, willful, fraudulent, and
               reckless acts of the Defendants, who demonstrated a conscious disregard and
               reckless indifference for the safety and welfare of the public in general and of
               Plaintiff in particular, in an amount sufficient to punish Defendants and deter future



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               similar conduct, to the extent allowed by applicable law;
       (5)     Pre-judgment and post-judgment interest, at the legal rate, on all amounts claimed;
       (6)     Attorneys’ fees and costs pursuant as permitted by law;
       (7)     For equitable and injunctive relief, as necessary, to ensure that Defendants refrain
               from continuing to harm others; and
       (8)     Any such further relief as this Court deems just and proper.


                                 DEMAND FOR JURY TRIAL
        Plaintiff hereby demands a jury trial for each cause of action for which he is entitled to a
jury trial.
DATED: June 9, 2023                           Respectfully submitted,
                                              PRITZKER LEVINE LLP

                                              By: /s/ Elizabeth C. Pritzker
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